                    IN THE UNITED STATES DISTRICT COURT FOR
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

STEPHANIE MILLER                              )
                                              )
and                                           )     CASE NO. 1:17-cv-00763-DAP
                                              )
MARY ALYCE DAWSON                             )     JUDGE DAN AARON POLSTER
                                              )
individually, and on behalf of all others     )
similarly situated,                           )
                                              )
               Plaintiffs,                    )
                                              )
v.                                            )
                                              )
INTELEOS, INC., f/k/a the AMERICAN            )
REGISTRY OF DIAGNOSTIC                        )
MEDICAL SONOGRAPHY, INC.                      )
                                              )
               Defendant.                     )


                                SETTLEMENT AGREEMENT

       This matter has been resolved by compromise as a result of mediation held before Judge

Dan Aaron Polster on September 28, 2017 (the “Mediation”), subject to Court approval of the

terms and conditions of this Settlement Agreement, by and among Stephanie Miller and Mary

Alyce Dawson (the “Named Plaintiffs” or “Class Representatives”), individually and on behalf

of themselves and on behalf of the proposed Settlement Class (defined below) (the “Settlement

Class”) (the Settlement Class and the Named Plaintiffs shall be collectively referred to as

“Plaintiffs” where applicable), on the one hand, and Inteleos, Inc. f/k/a American Registry for

Diagnostic Medical Sonography, Inc. (“ARDMS”) on the other. Plaintiffs and ARDMS are

collectively referred to herein as the “Parties.” The Parties intend to memorialize the agreement

reached at Mediation and this Settlement Agreement is intended by the Parties to make clear that

Named Plaintiffs Stephanie Miller and Mary Alyce Dawson and the Settlement Class fully,



                                            EXHIBIT A
finally, and forever resolve and settle with and release and discharge American Registry for

Diagnostic Medical Sonography, Inc. and Inteleos, Inc., of and from all claims, causes of action,

lawsuits, judgments, and demands of whatsoever in kind, in law or in equity, known or unknown,

foreseen and unforeseen, that arise from or are related in any way to the above-captioned class

action lawsuit, Miller, et al. v. Inteleos, Inc., Case No. 1:17-cv-00763-DAP, filed in the United

States District Court for the Northern District of Ohio (the “Class Action Lawsuit”), any fact

and/or circumstance related to any incorrect scoring of any Registered Vascular Technology

(“RVT”) exam(s) taken by Plaintiffs, or any fact and/or circumstance which has been alleged, or

which could have been alleged, in the Class Action Lawsuit arising out of the incorrect scoring

of the RVT exam(s).

I.     RECITALS

       WHEREAS, in March 2017, ARDMS discovered a scoring error in connection with the

administration of its RVT exam during the period of September 6, 2016 to March 14, 2017 that

resulted in 403 exam takers erroneously receiving a failing score (the “Affected Exam Takers”).

       WHEREAS, upon the discovery of the scoring error, ARDMS immediately corrected the

error and advised the 403 Affected Exam Takers that it would reimburse them for their exam

fees and related expenses, and to submit documentation for any additional expenses or damages.

       WHEREAS, ARDMS then sent settlement packages to the putative class members,

which contained, inter alia, disclosures and checks that reimbursed exam takers for the cost of

their exam(s). The checks were for $250, $500, or $750 (“Initial Check,” “Initial Checks,” or

“Initial Check(s)”) depending on how many times the individual took the exam. Because the

exam takers were reimbursed for all of the relevant “failed” exams and subsequently received a


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passing score without paying for and sitting for an additional exam, exam takers did not have to

pay for an exam that they ordinarily would have had to pay for. A handful of individuals also

received an additional $35 and/or $25 for the costs they paid to verify their score and/or

reimbursement for a practice exam, as the case may be. Where applicable, this amount was also

included in the Initial Checks.

       WHEREAS, the settlement letter, which accompanied the reimbursement check in the

settlement package, advised the exam takers, inter alia, that: (1) they may contact ARDMS for

additional compensation if they believed that the initial check did not fully compensate them for

their losses; (2) they should not cash the check if they believed that the enclosed check did not

fully compensate them; and (3) that by cashing the check, the exam taker was fully releasing

ARDMS from liability. See Dkt. No. 21.

       WHEREAS, ARDMS reached agreement with 342 of the 403 Affected Exam Takers to

reimburse them for their expenses and damages, as follows:

           ● 85 Affected Exam Takers asked for and received additional compensation in

               addition to the Initial Checks (“Affected Non-Settlement Class Members”). This

               additional compensation purportedly compensated these individuals for, inter

               alia, exam fees and related expenses, lost wages, lost opportunities, time spent

               studying and study materials, and/or consequential damages and/or emotional

               harm. ARDMS has asserted that by cashing these checks, the Affected Non-

               Settlement Class Members released their individual claims. The Affected Non-

               Settlement Class Members are not part of the Settlement Class, and any rights

               they may have are not altered by this Settlement.


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          ● 257 Affected Exam Takers did not request additional compensation from

              ARDMS and cashed the Initial Checks that were sent to them by ARDMS.

              ARDMS has asserted that it provided them with full and complete disclosures,

              and ARDMS further asserts that by cashing the Initial Checks these 257 Affected

              Exam Takers released their individual claims.       Plaintiffs contend that the

              purported individual releases were invalid because, inter alia, these 257

              individuals did not receive additional compensation above and beyond the Initial

              Checks. Two of these 257 Affected Exam Takers (both of whom are represented

              by Class Counsel) will not be part of the Settlement Class as they previously

              entered into a separate agreement. Therefore, there are 255 individuals who did

              not request additional compensation and cashed their Initial Checks and who are

              part of the Settlement Class.

          ● 61 of the 403 Affected Exam Takers (including the two Named Plaintiffs) did not

              cash their Initial Checks, and did not request and did not receive additional

              compensation from ARDMS. Two of these 61 Affected Exam Takers have

              retained other counsel that is not Class Counsel and are expected to Opt-Out of

              the Settlement Class.

       WHEREAS, during the period in which ARDMS was working with the Affected Exam

Takers to reimburse them for expenses and damages, Named Plaintiffs filed the instant Class

Action Lawsuit alleging that the scoring error constituted breach of contract, negligence,

violation of the Maryland Consumer Protection Act, violation of the Ohio Consumer Sales

Practices Act, violation of the Ohio Deceptive Trade Practices Act, and unjust enrichment.


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Named Plaintiffs sought actual and consequential damages, including the cost of the exam, the

cost of study materials, travel expenses, lost wages, lost employment opportunities; non-

economic damages for emotional distress, aggravation, and embarrassment; and treble damages

under the Ohio Consumer Sales Practices Act; and punitive damages and attorneys’ fees.

       WHEREAS, the Named Plaintiffs also moved to enjoin ARDMS from communicating

and resolving claims with and obtaining individual releases from the exam takers relative to the

claims asserted in the Complaint.     In doing so, Named Plaintiffs sought to invalidate the

individual releases. ARDMS maintained, and continues to maintain, that the individual releases

are valid and enforceable. On May 11, 2017, the Court held an in-person conference and

indicated that the individual releases were valid, and on May 12, 2017, the Court denied Named

Plaintiffs’ motion, concluding that the complained-of communications were proper and that they

were not misleading or deceptive. See Dkt. No. 21. There was no judicial determination by the

Court that the individual releases were invalid. See id. The Court stayed discovery and allowed

the pre-certification communications to continue for approximately sixty (60) days as set forth in

the May 12, 2017 Order.

       WHEREAS, throughout the pendency of this case, the Parties vigorously opposed each

other’s legal and damages positions. More specifically, and for example, the Named Plaintiffs

disputed that the individual releases were valid and ARDMS disputed the Named Plaintiffs’

damages claims.

       WHEREAS, from the May 11, 2017 Court conference through the Mediation on

September 28, 2017, the Parties, by counsel, engaged in ongoing and detailed arm’s length

settlement negotiations.


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       WHEREAS, the Parties, by counsel, participated in a successful Mediation before the

Honorable Dan Aaron Polster on September 28, 2017. The Parties have concluded and agree

that the interests of fairness, consistency, and efficiency are best served by this class settlement.

       WHEREAS, while Class Counsel and the Named Plaintiffs believe that the claims

asserted in the Complaint are meritorious, Class Counsel and the Named Plaintiffs recognize that

this Class Action Lawsuit, especially given the defenses, including ARDMS’ contention that the

individual releases are valid and enforceable, has an uncertain outcome and that pursuing this

litigation through trial would involve substantial risk, costs, and inevitable delay. Based upon

their evaluation of the facts and law, and weighing the risks and the benefits, Class Counsel and

the Named Plaintiffs have determined that the Settlement is fair, reasonable, adequate, and in the

best interest of the Settlement Class.

       WHEREAS, ARDMS denies any and all allegations of wrongdoing and liability, and the

Parties understand and agree that neither the payment of consideration nor this Settlement

Agreement shall constitute or be construed as an admission of liability or wrongdoing by

ARDMS. Nevertheless, ARDMS recognizes the risks, uncertainties, and costs of litigation, and

therefore, desires to resolve this matter through settlement.

       NOW THEREFORE, it is hereby STIPULATED AND AGRED, by and among the

Parties, through their counsel, and subject to approval of the Court pursuant to Rule 23(e) of the

Federal Rules of Civil Procedure, that Plaintiffs’ Released Claims shall be finally and fully

compromised, settled, and released and that this Class Action Lawsuit shall be dismissed with

prejudice, upon and subject to the terms and conditions of this Settlement Agreement.




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II.    DEFINITIONS

       “Affected Exam Takers” means the 403 exam takers who took one or more RVT exams

administered by ARDMS from September 6, 2016 to March 14, 2017 and who, because of a

process error, received a “failing score” when they had in fact passed the exam(s).

       “Affected Non-Settlement Class Members” means those Affected Exam Takers who

asked for and received additional compensation above and beyond the sum of the Initial

Check(s) to compensate them for losses, including, inter alia, exam fees and related expenses,

lost wages, lost opportunities, time spent studying and study materials, and/or consequential

damages and/or emotional harm. ARDMS has asserted that the Affected Non-Settlement Class

Members released their individual claims. The Affected Non-Settlement Class Members are not

part of the Settlement Class, and any rights they may have are not altered by this Settlement.

There are 85 Affected Non-Settlement Class Members.

       “ARDMS” means Inteleos, Inc. f/k/a American Registry for Diagnostic Medical

Sonography, Inc., Inteleos, Inc., and/or ARDMS. “ARDMS” also means American Registry of

Diagnostic Medical Sonography, Inc., which was improperly pled in the caption in the

Complaint.

       “Attorneys’ Fee and Expense Award” means the amount of attorneys’ fees and

reimbursement of costs and expenses awarded by the Court to Class Counsel.

       “Authorized Claimants” are the Settlement Class Members who do not Opt-Out of the

Settlement Class and Subclass 1 Members who submit valid Claim Forms.

       “Claim Form” means the form for submission of claims by Subclass 1 Members and

approved by the Court, substantially in the form attached hereto as Exhibit 3.


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       “Class Action Lawsuit” means the class action lawsuit, Miller, v. et al. v. Inteleos, Inc.,

Case No. 1:17-cv-00763-DAP, filed in the United States District Court for the Northern District

of Ohio.

       “Class Counsel” means Marc E. Dann and William C. Behrens of the Dann Law Firm

Co., LPA, and Thomas A. Zimmerman, Jr., Sharon A. Harris, and Maebetty Kirby of the

Zimmerman Law Offices, PC.

       “Complaint” or “Class Action Complaint” means the Class Action Complaint filed in this

Class Action Lawsuit.

       “Court” means the United States District Court for the Northern District of Ohio, Hon.

Dan Aaron Polster (the court in which the Lawsuit is pending).

       “Effective Date” means one (1) business day following the later of (a) the date upon

which the time expires for filing or noticing any appeal of the Final Approval Order; or (b) if

there is any appeal or appeals, the date of dismissal or completion of such appeal(s), in a manner

that fully affirms and leaves in place the Final Approval Order without any material

modifications.

       “Fairness Hearing” or “Final Approval Hearing” means the hearing at which the Parties

will request the Court to confirm certification of the Settlement Class, to grant final approval of

the Settlement Agreement as fair, reasonable, and adequate, and to approve the Attorneys’ Fee

and Expense Award and the Service Award, and to enter the Final Approval Order.

       “Final Approval Order” and “Final Approval” means the final order entered by the Court

approving the Settlement Agreement, substantially in the form of Exhibit 2 attached hereto, on

the terms mutually satisfactory to the Parties that has become final and non-appealable.


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        “Initial Check,” Initial Checks,” or “Initial Check(s)” means the $250, $500, or $750

checks, depending on how many times the Affected Exam Taker took the RVT exam(s), that

were sent by ARDMS to Affected Exam Takers to cover the cost of the RVT exam(s). “Initial

Checks” also includes the amounts paid to a handful of individuals to reimburse them for the cost

they paid to verify their score(s) and/or reimbursement for a practice exam(s) (amounting to an

additional $35 and/or $25, respectively).

       “Mediation” means the mediation that was held before Judge Dan Aaron Polster on

September 28, 2017 whereat the Parties reached an agreement to settle this Class Action

Lawsuit, which is memorialized in this Settlement Agreement.

       “Named Plaintiffs” or “Class Representatives” means Stephanie Miller and Mary Alyce

Dawson, individually and as the representatives of the Settlement Class.

       “Net Settlement Amount” means the Settlement Amount less the Attorneys’ Fee and

Expense Award, the Service Award, and the costs of class notice and settlement administration.

       “Notice Date” means the date upon which the Settlement Subclass 1 Notice and the

Settlement Subclass 2 Notice are first disseminated to the Settlement Class.

       “Opt-Out and Objection Deadline” means the deadline for a Settlement Class Member to

submit a written Objection or Request for Exclusion that is no more than forty-five (45) days

after the Notice Date.

       “Parties” means Plaintiffs and ARDMS.

       “Plaintiffs” means the Settlement Class and the Named Plaintiffs.

       “Plan of Allocation” means the allocation plan for payment of the Net Settlement

Amount to Settlement Class Members.


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       “Preliminary Approval” means the Court’s entry of the Preliminary Approval Order,

substantially in the form of Exhibit 1 attached hereto.

       “Request for Exclusion” or “Opt-Out” means the timely written communication by or on

behalf of a person in the Settlement Class in which he or she requested to be excluded from the

Settlement Class.

       “Settlement” means the terms and conditions of this Settlement Agreement.

       “Settlement Administrator” means, subject to the approval of the Court and agreement of

ARDMS, the entity selected by Class Counsel to administer the Settlement. The Settlement

Administrator’s address and toll-free telephone number for Settlement Class Members to call for

information shall be placed on all forms of Settlement Class Notice and the Settlement Website.

       “Settlement Amount,” “Settlement Payment” and “Settlement Funds” means the amount

paid by ARDMS, Five-Hundred Seventy-Two Thousand Six-Hundred Forty-One Dollars and

Zero Cents ($572,641.00) to fully resolve and settle this Class Action Lawsuit.

       “Settlement Class” or “Settlement Class Members” means the members of Subclass 1 and

Subclass 2. The Settlement Class does not include any of the Affected Non-Settlement Class

Members. The Settlement Class also does not include the two individuals who may have been

part of Subclass 2 and who signed a retainer agreement with Class Counsel, but previously

entered into a separate agreement and Class Counsel represented at Mediation that they would be

excluded. The Settlement Class does not include ARDMS and Inteleos, Inc., and their respective

officers, directors, and employees, board members, affiliated, related companies, or entity that

has a controlling interest in ARDMS or Inteleos, Inc., and all of their respective employees,

agents, board members, affiliates, legal representatives, heirs, successors, or assigns, Class


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Counsel and their immediate family members, and the judge to whom this case is assigned and

the judge’s immediate family.

       “Settlement Subclass 1 Notice” means the notice of the pendency and proposed

settlement of the Class Action Lawsuit, including Electronic-Mail Notice and Postcard Notice,

substantially in the forms attached hereto as Exhibits 4 and 5.

       “Settlement Subclass 2 Notice” means the notice of the pendency and proposed

settlement of the Class Action Lawsuit, including Electronic-Mail Notice and Postcard Notice,

substantially in the forms attached hereto as Exhibits 6 and 7.

       “Settlement Website” means an informal website about the Settlement with any easy to

remember domain name to be set up and maintained by the Settlement Administrator, as more

fully described in Section VIII.C below.

       “Subclass 1” means those Affected Exam Takers who received an Initial Check(s) from

ARDMS, but did not cash the Initial Check(s) and did not request and did not receive additional

compensation from ARDMS. Subclass 1 potentially consists of 61 total individuals, but two of

these individuals are represented by other counsel (not Class Counsel) and it is expected that

these two individuals will Opt-Out of the Settlement Class. Therefore, there are 59 individuals

expected in Subclass 1.

       “Subclass 1 Fund” means the Four-Hundred Forty-Five Thousand One-Hundred Forty-

One Dollars and Zero Cents ($445,141.00), less the proportionate Attorneys’ Fee and Expense

Award, Service Award, and costs of class notice and settlement administration, that shall be

distributed to Subclass 1 Members.

       “Subclass 1 Member” means an individual who is a member of Subclass 1.


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       “Subclass 2” means those Affected Exam Takers who cashed the Initial Checks sent to

them by ARDMS and who did not request or receive additional compensation. There could have

been up to 257 individuals who may have been eligible to be in Subclass 2. However, two of the

257 individuals signed retainer agreements with Class Counsel and Class Counsel represented at

the Mediation that these two individuals are not part of the Settlement Class, as they previously

entered into a separate agreement. Therefore, there are 255 individuals in Subclass 2.

       “Subclass 2 Fund” means the One-Hundred Twenty-Seven Thousand Five-Hundred

Dollars and Zero Cents ($127,500.00), less the proportionate Attorneys’ Fee and Expense

Award, Service Award, and costs of class notice and settlement administration, that shall be

distributed to Subclass 2 Members.

       “Subclass 2 Members” means an individual who is a member of Subclass 2.

III.   SETTLEMENT PAYMENT AND PLAN OF ALLOCATION

       A.      The Settlement Class:        The Parties hereby stipulate and agree that, for the

purpose of this Settlement Agreement, the Settlement Class is maintainable as a class action

under Rule 23 of the Federal Rules of Civil Procedure. To effectuate settlement only, Plaintiffs

and ARDMS will request that the Court certify a Settlement Class. There are up to 316 persons

who are in the Settlement Class. The Settlement Class is comprised of two Subclasses, as defined

in Section II above and as follows:

               1.     Subclass 1:     All    individuals   who   took   a   Registered   Vascular

Technology (RVT) examination administered by ARDMS from September 6, 2016 to March 14,

2017, who passed the examination but received an incorrect failing score, and who did not cash




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their Initial Checks to cover the cost of the exam(s) and who did not request and did not receive

additional compensation from ARDMS.

               This Subclass consists of potentially 61 individuals, but two of these individuals

are represented by other counsel and it is expected that these two individuals will Opt-Out of the

Settlement Class. Therefore, there are 59 expected individuals in Subclass 1.

               2.     Subclass 2:    All   individuals   who    took   a   Registered     Vascular

Technology (RVT) examination administered by ARDMS from September 6, 2016 to March 14,

2017, who passed the examination but received an incorrect failing score, and who cashed their

Initial Checks and did not request and did not receive additional compensation from ARDMS

above and beyond the Initial Checks. This Subclass consists of potentially 257 total individuals,

but 2 of these individuals, who signed a retainer agreement with Class Counsel, will be excluded

from the Settlement Class. Therefore, there are 255 expected individuals in Subclass 2.

               3.     The Affected Non-Settlement Class Members not part of the Settlement

Class:         All individuals who took a Registered Vascular Technology (RVT) examination

administered by ARDMS from September 6, 2016 to March 14, 2017, who passed the

examination but received an incorrect failing score, and who asked for and received additional

compensation, in addition to the Initial Checks that reimbursed them for the cost of the exam(s)

are not part of the Settlement Class. These individuals had the opportunity to request additional

compensation to make them whole, and did, in fact, ask for and receive additional compensation

to compensate them for a multitude of categories of claimed losses, including exam fees and

related expenses, lost wages, lost opportunities, time spent studying and study materials, and

consequential damages and emotional harm.           By requesting and receiving the additional


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compensation, and by cashing their checks after they were provided with the aforementioned

disclosures by ARDMS, ARDMS has asserted that these individuals released their individual

claims against ARDMS.       Any rights these individuals may have are not altered by this

Settlement.

              4.      If a Member of Subclass 1 cashes his or her Initial Check: The       Initial

Checks are scheduled to expire or be void prior to the granting of Preliminary Approval. In the

event that a member of Subclass 1 cashes his or her Initial Check prior to the Court granting

Preliminary Approval of this Settlement Agreement, such individual will be moved from

Subclass 1 to Subclass 2 and the total sum of the Subclass 1 Fund shall be reduced by Five

Hundred Dollars ($500.00) for each Initial Check that is cashed and the total sum for the

Subclass 2 Fund shall then be increased by Five Hundred Dollars for each Initial Check that was

cashed. Further, a few individuals who may be in Subclass 1 requested and received additional

compensation beyond the Initial Check, but they did not cash the check(s) representing

additional compensation. In the event that such an individual(s) cashes his or her check with the

additional compensation (prior to the check’s expiration), such individual(s) shall be deemed to

be an Affected Non-Settlement Class Member who will not be part of the Settlement Class.

ARDMS asserts that by cashing his or her check with the additional compensation, such

individual(s) has released his or her individual claims. Any rights they may have are not altered

by this Settlement. The happening of such preceding event(s) has no effect on the Settlement

Amount.




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       B.      Settlement Amount:

       ARDMS shall make a Settlement Payment in the amount of Five-Hundred Seventy-Two

Thousand Six-Hundred Forty-One Dollars and Zero Cents ($572,641.00) to fully resolve and

settle this Class Action Lawsuit. This Settlement Payment is intended to be all-inclusive and is

intended to resolve any and all payments that Named Plaintiffs and Settlement Class Members

have against ARDMS. This Settlement Payment includes all payments to Named Plaintiffs and

Settlement Class Members, including for attorneys’ fees and costs, incentive payments or service

awards, and costs of class notice and settlement administration.

       C.      Distribution of Settlement Funds:

       Subject to Section III.A.4 above, the Settlement Amount shall be distributed as follows:

               1.      Distribution of Subclass 1 Fund:      Four-Hundred Forty-Five Thousand

One Hundred Forty One Dollars and Zero Cents ($445,141.00), less proportionate Attorneys’

Fee and Expense Award, Service Award, and costs of class notice and settlement administration,

shall be distributed among Subclass 1 Members.

                       a.     Claim Form: Subclass 1 Members will be required to complete

and submit a Claim Form (Exhibit 3), subject to Court approval, which will be available as an

attachment to the Subclass 1 Electronic-Mail Notice and on the Settlement Website, in order to

receive payments from the Net Settlement Amount from the Subclass 1 Fund. The Claim Form

will be customized and set forth the name of the Subclass 1 Member, the number of times and

the dates during the Class Period that he/she took the RVT examination(s), the amount in

registration fees he/she paid to take the examination(s) during the Class Period, the amount

he/she paid to verify his/her examination(s) result(s) or to take a practice examination(s), and the


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amount he/she is entitled to under the Settlement for non-economic damages to compensate

him/her for the stress and aggravation related to the False Fail(s) (defined below). Subclass 1

Members will be required to fill in information for any of the other categories of damages for

which they are seeking additional compensation. Subclass 1 Members may only seek damages

that they incurred after they were incorrectly advised for the first time that they failed an RVT

examination that they had actually passed (“False Fail”). Subclass 1 Members cannot seek

damages for items that occurred prior to the first False Fail, although they will be receiving a

refund of all of their examination registration fees and fees to verify their examination result(s)

and take practice examination(s) under the Settlement. If a Subclass 1 Member sustained

damages in an amount less than the maximum possible recovery that can be obtained without

supporting documentation, as set forth for each category of damages (as stated in the Claim

Form), they do not have to submit any documents to support their claimed damages for that

category. However, if a Subclass 1 Member believes he/she sustained damages greater than the

maximum possible recovery that can be obtained without supporting documentation (as set forth

for each category), then they must submit supporting documentation along with the Claim Form

to the Settlement Administrator. Missing documentation or insufficient support may affect the

amount that a Subclass 1 Member may be able to recover. Subclass 1 Members will be required

to confirm their name, mailing address, telephone number, and email address. Subclass 1

Members will also be required to attest to the truthfulness of the contents of the Claim Form. The

Settlement Administrator, ARDMS, and Class Counsel reserve the right to verify all of the

information Subclass 1 Members put in the Claim Form, including any accompanying

documentation, and, in order to guard against fraudulent claims, Subclass 1 Members may be


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requested and required to provide documentation to substantiate the damages they have

identified for a category, even if they are seeking less than the maximum possible recovery that

can be obtained without supporting documentation. Each Subclass 1 Member who submits a

timely, valid Claim Form and is thus an Authorized Claimant will be paid an amount from the

Net Settlement Amount from the Subclass 1 Fund calculated in accordance with Section

III.C.1.b. Subclass 1 Members must submit a completed Claim form by a deadline that is

approximately seventy (70) days after the Notice Date, subject to Court approval. The deadline

for submitting a completed Claim Form will be clearly set forth in the Settlement Class Notice,

Claim Forms, and Settlement Website.

                      b.     Payments to Subclass 1 Members:

       Each Subclass 1 Member who does not Opt-Out will be entitled to a monetary payment

from the Net Settlement Amount of the Subclass 1 Fund based, in part, upon the applicable

categories known and/or selected by the Subclass 1 Member on the Claim Form and, if seeking

damages greater than the maximum possible recovery that can be obtained without supporting

documentation (as set forth for each category), based on the supporting documentation or

substantiation provided by the Subclass 1 Member. Based upon the amount sought, any required

supporting documentation provided to the Settlement Administrator, and the available Net

Settlement Amount from the Subclass 1 Fund, the Settlement Administrator shall have discretion

to determine how much monetary relief each Subclass 1 Settlement Class Member receives.

              2.      Distribution of Subclass 2 Fund: One-Hundred Twenty-Seven Thousand

Five-Hundred Dollars and Zero Cents ($127,500.00), less proportionate Attorneys’ Fee and

Expense Award, Service Award, and costs of class notice and settlement administration, shall be


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distributed among Subclass 2 Members. Each member in Subclass 2 who does not Opt-Out shall

automatically receive a check in the amount of Five-Hundred Dollars ($500.00), less

proportionate Attorneys’ Fee and Expense Award, Service Award, and costs of class notice and

settlement administration. Subclass 2 Members need not make a claim or submit a Claim Form.

A letter from ARDMS and Class Counsel, substantially in the form of Exhibit 9 attached hereto,

will accompany the check.

              3.      Additional Allocation and Adjustments:      To the extent necessary, the

Settlement Administrator shall adjust the amounts of individual payments to Settlement Class

Members within each Subclass Settlement Fund by increasing or decreasing the payments on a

pro rata basis in order to fully allocate and pay the full Net Settlement Amount of each

Settlement Fund so that no money remains or reverts back to ARDMS.

              4.      Payment is Final and Conclusive:     Payment in accordance with this

Settlement Agreement shall be deemed final and conclusive against all Settlement Class

Members. Subclass 1 Members who fail to Opt-Out and who fail to submit a timely and valid

Claim Form or whose claim is otherwise not approved by the Settlement Administrator shall be

barred from participating in and receiving any distributions from the Net Settlement Amount, but

shall be bound by all terms of this Settlement Agreement, including the Final Approval Order

and the release of Plaintiffs’ Released Claims. Similarly, Subclass 2 Members who fail to Opt-

Out and are sent a check from the Subclass 2 Fund are barred from participating in any further

distributions from the Net Settlement Amount, and shall be bound by all terms of this Settlement

Agreement including the Final Approval Order and the release of Plaintiffs’ Released Claims,

notwithstanding the fact that ARDMS asserts that these individuals previously released their


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individual claims against ARDMS. Nothing herein shall constitute a waiver of ARDMS’

contention that the prior individual releases ARDMS asserts it obtained from Subclass 2

Members are valid and enforceable and that these individuals previously released their individual

claims against ARDMS. All proceedings with respect to the administration, processing and

determination of claims and the determination of all controversies relating thereto, including

disputed questions of law and fact with respect to the validity of a claim, shall be subject to the

jurisdiction of the Court.

       D.      Methods and Timing of Payments: Within twenty (20) days after entry of the

Preliminary Approval Order, ARDMS shall pay $100,000.00 of the Settlement Amount to the

Settlement Administrator in accordance with instructions to be provided by the Settlement

Administrator. The Settlement Administrator shall pay from this initial payment the costs of

Settlement Subclass 1 Notice, Settlement Subclass 2 Notice, the Settlement Website, and

settlement administration. Within twenty (20) days after the Effective Date, ARDMS shall pay

the $472,641.00 balance of the Settlement Amount to the Settlement Administrator in

accordance with instructions to be provided by the Settlement Administrator. Upon ARDMS’

remaining payment of the Settlement Amount, the Settlement Administrator shall pay the

Attorneys’ Fee and Expense Award to Class Counsel and the Service Award, as approved by the

Court, to the Class Representatives. The Settlement Administrator shall then pay from the Net

Settlement Amount the payments due to Authorized Claimants by mailing the checks for the

amounts due to them within seven (7) days after receiving the remaining payment of the

Settlement Amount. The settlement checks shall be void if not cashed within six (6) months

after the date of issuance. In the event that a balance of the Net Settlement Amount remains as a


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result of Settlement Class Members’ failure to cash checks within the stated expiration period, or

for any other reason, said remaining funds shall be paid cy pres to an appropriate charity(ies)

selected by Class Counsel and approved by the Court.

       E.      Reporting:     No later than fourteen (14) days after the Opt-Out and Objection

Deadline, the Settlement Administrator shall provide a declaration to Class Counsel and

ARDMS’ counsel attesting to the number of Opt-Outs, if any, and attesting to the measures taken

to provide the class notice to the Settlement Class Members. No later than fourteen (14) days

after the deadline for Settlement Class Members to submit a Claim Form, the Settlement

Administrator shall provide a declaration to Class Counsel and ARDMS’ counsel attesting to the

number of Claim Forms received and the claimant and payment information for all claims to be

paid and disallowed.

       F.      Accounting:    No later than two (2) months after the settlement checks are void,

Class Counsel shall file a final accounting with the Court setting forth a summary of the

payments from the Settlement Amount to the Settlement Administrator (for class notice and

settlement administration), Class Counsel (for fees, costs, and expenses), the Class

Representatives (for the Service Awards), and the Settlement Class Members.

IV.    RELEASE

       Plaintiffs’ Released Claims: Upon the Effective Date and in consideration of ARDMS’

payment of the Settlement Amount, Named Plaintiffs and Settlement Class Members, on behalf

of themselves, and their agents, representatives, attorneys, family members, heirs,

representatives, executors, administrators, assignees, predecessors, and/or successors in interest,

hereby fully, finally, and forever release and forever discharge American Registry for Diagnostic


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Medical Sonography, Inc., Inteleos, Inc., and ARDMS, and their agents, employees, owners,

shareholders, principals, officers, directors, attorneys, heirs, representatives, executors,

administrators, assignees, predecessors in interest, parent companies, subsidiaries, affiliates,

related companies, and insurers, of and from all claims, causes of action, lawsuits, judgments,

and demands of whatsoever in kind, in law or in equity, known or unknown, foreseen and

unforeseen, that arise from or are related in any way to the Class Action Lawsuit, any fact and/or

circumstance related to any incorrect scoring of any Registered Vascular Technology (“RVT”)

exam(s) taken by Plaintiffs, or any fact and/or circumstance which has been alleged, or which

could have been alleged, in the Class Action Lawsuit arising out of the incorrect scoring of the

RVT exam(s) (the “Plaintiffs’ Released Claims”).

      Defendant’s Released Claims.       ARDMS and ARDMS’s counsel hereby release and

forever discharge all claims, rights or causes of action, whether known or unknown, whether

accrued or unaccrued, and whether arising under federal, state, local, statutory, or common law,

rule or regulation, against the Named Plaintiffs, any of the Settlement Class Members, or Class

Counsel, including their respective spouses, children, heirs, associates, co-owners, agents,

administrators, executors, devisees, predecessors, and representatives, that arise out of or are in

any way related to the prosecution of the Class Action Lawsuit.

V.    CERTIFICATION OF SETTLEMENT CLASS

       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for purposes of this

Settlement only and subject to the approval of the Court, the Parties stipulate to certification of

the Settlement Class and the Subclasses defined and described above and to the appointment of

Stephanie Miller and Mary Alyce Dawson as Class Representatives for the Settlement Class.


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Should the Court not enter the Final Approval Order or the Effective Date not occur, the

certification of the Settlement Class shall be void, the Settlement Class shall be automatically

decertified, and this Settlement Agreement shall not constitute, be construed as, or be admissible

as evidence of, an admission by any Party, or be used for any purpose whatsoever in this Class

Action Lawsuit or any other lawsuit.        If the Settlement Agreement is not approved or is

terminated for any reason, all rights and positions of the Parties existing prior to the execution of

this Settlement Agreement with respect to class certification shall be preserved.

VI.    PRELIMINARY APPROVAL

       Plaintiffs and Class Counsel will use their best efforts to apply to the Court for an order

preliminarily approving the terms of the Settlement Agreement on or before November 14, 2017.

The motion shall be submitted jointly. The motion for preliminary approval (and all subsequent

motions relating to the approval of the Settlement) shall be filed with and determined by the

Court and will include a request that the Court:

               1.      Certify the Settlement Class under Rule 23 of the Federal Rules of Civil

                       Procedure for settlement purposes only;

               2.      Appoint    Stephanie Miller and Mary Alyce Dawson                  as   Class

                       Representatives of the Settlement Class;

               3.      Appoint Class Counsel to represent the Settlement Class;

               4.      Explain that Plaintiffs’ claims in the Complaint may have merit, but that

                       Plaintiffs and Class Counsel recognize that, given ARDMS’ defenses

                       including ARDMS’ contention that the individual releases are valid and

                       enforceable, the claims in the Class Action Lawsuit have an uncertain

                                                   22
     outcome, and that pursuing this litigation through trial would involve

     substantial risk, costs, and inevitable delay; and based upon their

     evaluation of the facts and law, and weighing the risks and the benefits,

     Class Counsel and the Named Plaintiffs have determined that the

     Settlement is fair, reasonable, adequate, and in the best interest of the

     Settlement Class; and explain that the Affected Non-Settlement Class

     Members     have      sought    from   ARDMS    and   received   additional

     compensation over and above the Initial Check(s) and cashed their checks

     with the additional compensation, and thus, ARDMS maintains that such

     individuals have released their individual claims; these individuals are not

     part of the Settlement Class, and any rights they may have are not altered

     by this Settlement;

5.   Preliminarily approve the Settlement Agreement and Plan of Allocation

     for purposes of disseminating notice to the Settlement Class;

6.   Approve the form and contents of the Settlement Class Notice and the

     method of is dissemination to Settlement Class Members; and

7.   Schedule a Fairness Hearing to (a) review and rule upon any Objections to

     the Settlement, (b) consider the fairness, reasonableness, and adequacy of

     the Settlement, (c) consider whether the Court should issue the Final

     Approval Order approving the Settlement and granting Class Counsel’s

     application for an Attorneys’ Fee and Expense Award and Service Award




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                      and dismissing the Class Action Lawsuit with prejudice, and (d) consider

                      such other matters as the Court may deem appropriate.

       The proposed Preliminary Approval Order (Exhibit 1), will be submitted with the Parties’

joint motion seeking preliminary approval.

VII.   FINAL APPROVAL

       A.      This Settlement Agreement is subject to and conditioned upon the Court’s entry

of a Final Approval Order (Exhibit 2) following the Fairness Hearing.

       B.      Upon the Effective Date, the Parties will stipulate to the dismissal of the Class

Action Lawsuit with prejudice, with all Parties to bear their own costs, expenses, and fees except

as provided under this Settlement Agreement.

VIII. SETTLEMENT CLASS NOTICE

       A.      Settlement Class List: Within seven (7) days after Preliminary Approval a list of

Settlement Class Members, showing which of them would be in Subclass 1 and which of them

would be in Subclass 2 will be provided by ARDMS to the Settlement Administrator in a format

as requested by the Settlement Administrator. The class list will contain the name, mailing

address, and e-mail address of each of the Settlement Class Members as contained in ARDMS’

records. The class list will also provide the following information from ARDMS’ records with

regard to each Subclass 1 Member: (1) the number of times the Subclass 1 Member “False

Failed” the RVT examination, and the date(s) of each examination that was erroneously reported

as a “False Fail”, (2) the amount of money the Subclass 1 Member paid ARDMS in registration

fees to take all RVT examination(s) between September 6, 2016 to March 14, 2017, (3) the

amount of money the Subclass 1 Member paid to verify all of his/her examination result(s) for all


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RVT examination(s) taken between September 6, 2016 to March 14, 2017, and (4) the amount of

money the Subclass 1 Member paid for all practice RVT examination(s) taken between

September 6, 2016 to March 14, 2017.

       B.      Direct Notice: No later than thirty (30) days after Preliminary Approval, the

Settlement Class Notice shall be disseminated as follows:

               1.     To Settlement Class Members in Subclass 1:

                      a.      Electronic Mail:        The Settlement Administrator shall attempt

to transmit via electronic mail the Subclass 1 Electronic-Mail Notice (Exhibit 4) and the Claim

Form (Exhibit 3) to Subclass 1 Members. The Claim Form is described in detail above in

Section III.C.1.a. The Subclass 1 Electronic-Mail Notice to Subclass 1 Members will also

inform the Subclass 1 Members that they can download another copy of their Claim Form, which

will be customized for each Subclass 1 Member, by visiting the Settlement Website and

inputting their personal identification number that will be provided along with the Email. The

customized Claim Form can also be filled-out electronically on the Settlement Website based on

their personal identification number.

                      b.      U.S. Mail:    The Settlement Administrator shall mail the

Subclass 1 Postcard Notice (Exhibit 5) to all Settlement Class Members in Subclass 1 (for whom

a mailing address was provided in the class list). The Subclass 1 Postcard Notice will inform the

Subclass 1 Members that they can download their Claim Form, which will be customized for

each Subclass 1 Member, by visiting the Settlement Website and inputting their personal

identification number that will be provided on the Subclass 1 Postcard Notice. The customized




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Claim Form can also be filled-out electronically on the Settlement Website based on their

personal identification number.

               2.     Regarding Settlement Class Members in Subclass 2:

                      a.      Electronic Mail:        The Settlement Administrator shall attempt

to transmit via electronic mail the Subclass 2 Electronic-Mail Notice (Exhibit 6) to Subclass 2

Members. The Subclass 2 Electronic-Mail Notice will advise Settlement Class Members in

Subclass 2 of the terms of the Settlement and the mailing address that ARDMS has for them in

its records, and request that they provide the Settlement Administrator with their new mailing

address if it is different than the mailing address that ARDMS has for them in its records. The

Subclass 2 Electronic-Mail Notice to Subclass 2 Members will also direct the Subclass 2

Members to the Settlement Website.

                      b.      U.S. Mail:     The Settlement Administrator shall mail the

Subclass 2 Postcard Notice (Exhibit 7) to all Settlement Class Members in Subclass 2 (for whom

the Settlement Administrator is able to obtain a mailing address). The Subclass 2 Postcard

Notice will advise Settlement Class Members in Subclass 2 of the terms of the Settlement and

the mailing address that ARDMS has for them in its records, and request that they provide the

Settlement Administrator with their new mailing address if it is different than the mailing address

that ARDMS has for them in its records. The Subclass 2 Postcard Notice will direct the Subclass

2 Member to the Settlement Website.

       C.      Settlement Website: At the time the Settlement Class Notice is disseminated,

and no later than thirty (30) days after Preliminary Approval of this Settlement Agreement,

including approval of the form and content of the Settlement Class Notice, the Settlement


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Administrator shall cause the Settlement Website to be activated on the Internet. The Settlement

Website shall include the Settlement Administrator’s toll-free telephone number for Settlement

Class Members to call for information; links to the Detailed Notice (substantially in the form

attached hereto as Exhibit 8); relevant case documents in connection with the Settlement

Agreement; a downloadable Claim Form for Subclass 1 Members; a fillable copy of a Claim

Form that can be submitted electronically; and such other documents and information as may be

agreed on by the Parties or ordered by the Court.

IX.    ATTORNEYS’ FEES, COSTS AND EXPENSES

       Class Counsel will make an application to the Court for payment from the Settlement

Amount of attorneys’ fees of up to one-third (1/3) of the Settlement Amount plus the costs and

expenses that Class Counsel has incurred in the prosecution of the Class Action Lawsuit. Said

application shall be filed at least fourteen (14) days prior to the Opt-Out and Objection Deadline,

and ARDMS will not object to said application. The amount of fees, costs and expenses

awarded by the Court shall be deducted from the Settlement Amount and paid by the Settlement

Administrator as awarded by the Court. Class Counsel’s support of the Settlement Agreement as

fair and reasonable is not conditioned upon the Court’s award of the requested fees and expenses.

Further, the terms and enforcement of the Settlement Agreement is not conditioned on the

approval of an award of the requested fees and expenses.

X.     SERVICE AWARDS

       Class Counsel will make an application to the Court for a Service Award to Named

Plaintiffs Stephanie Miller and Mary Alyce Dawson in consideration for their having undertaken

this Class Action Lawsuit, assisted in the prosecution and otherwise serving as Class


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Representatives. Said application shall be filed at least fourteen (14) days prior to the Opt-Out

and Objection Deadline, and ARDMS will not object to said application. In consideration of the

contributions of the Class Representatives, the amount to be requested will be an amount up to

and no greater than $5,000 for each of the two Class Representatives. Named Plaintiffs’ support

for the Settlement Agreement as fair and reasonable is not conditioned upon the Court’s award of

the requested Service Award. Further, the terms and enforcement of the Settlement Agreement

is not condition on the approval of the requested Service Award.

XI.    OPT-OUTS AND OBJECTIONS

       A.      Right to Exclusion: Any Settlement Class Member may submit a Request for

Exclusion from the Settlement Class postmarked on or before the Opt-Out and Objection

Deadline. In order to exercise the right to be excluded, a Settlement Class Member must timely

send a written Request for Exclusion to the Settlement Administrator providing: their name and

address; their physical signature; the name and number of this Class Action Lawsuit; and a

statement that they wish to be excluded from the Settlement Class. Any person who elects to

Opt-Out of the Settlement Class shall: (a) not be bound by any orders or Final Approval Order

entered in this Class Action Lawsuit, (b) not be entitled to relief under this Settlement

Agreement, (c) not gain any rights by virtue of this Settlement Agreement, and (d) not be entitled

to object to any aspect of this Settlement Agreement. No person may Opt-Out of the Settlement

Class through a so-called “mass” or “class” opt-out.

       B.      Right to Object: Any Settlement Class Member who does not Opt-Out of the

Settlement Class may object to the Settlement or any portion of the Settlement Agreement in

writing, in person, or through counsel at the Fairness Hearing, at their own expense


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(“Objection”). The Settlement Class Notice shall specify that any Objection to the Settlement,

and any papers submitted in support of said Objection, shall be considered by the Court at the

Fairness Hearing only if, on or before the Opt-Out and Objection Deadline approved by the

Court and specified in the Settlement Class Notice, the person making the Objection files notice

of an intention to do so and at the same time (a) files copies of any papers they propose to be

submitted at the Fairness Hearing with the Clerk of the Court, and (b) either (i) files the

Objection through the Court’s ECF system if the Objection is from a Settlement Class Member

represented by counsel, or (ii) sends copies of such papers by mail, hand, or overnight delivery

service to the following:

       For Plaintiffs:

       Thomas A. Zimmerman, Jr.
       Zimmerman Law Offices, P.C.
       77 W. Washington St., Suite 1220
       Chicago, IL 60602
       For ARDMS:
       Matthew D. Berkowitz
       Carr Maloney P.C.
       2020 K Street, NW, Suite 850
       Washington, DC 20006

   Any Settlement Class Member who intends to object to this Settlement must include in the

written Objection: (a) their name and address; (b) their arguments, citations, reasons, and

evidence supporting the Objection (including copies of any documents relied on); (c) a statement

that they are a Settlement Class Member; (d) the date(s) on which they took the RVT exam(s)

and received a false failing score; (e) their physical signature; and (f) a statement indicating

whether they intend to appear at the Fairness Hearing with or without counsel. Any Settlement

Class Member who fails to object in the manner prescribed herein shall be deemed to have
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waived their objections and be forever barred from making any such objections in the Class

Action Lawsuit or in any other action or proceeding. While the statement described above in this

paragraph is prima facie evidence that the objector is a member of the Settlement Class, subject

to verification based on the Parties’ records, in the event of inaccuracies or inconsistencies in the

statement, any of the Parties may take limited discovery regarding the matter, subject to Court

approval.

       C.      Right to Terminate Because of Excessive Opt-Outs: In the event that more than

10 of the Members in Subclass 1 or more than 10% the Members in Subclass 2 Opt-Out of the

Settlement Class, ARDMS has the right in its sole discretion to terminate this Settlement

Agreement. The percentage calculation shall be determined by the total number of individuals in

Subclass 2 identified by ARDMS to the Class Administrator after Preliminary Approval is

granted. These calculations do not include the two individuals in Subclass 1 who are represented

by other counsel and are expected to Opt-Out, and do not include the two individuals who could

have been in Subclass 2 and who are represented by Class Counsel and who are to be excluded.

XII.   TERMINATION AND PRESERVATION OF RIGHTS

       The Settlement Agreement is admissible in the Court solely for the purposes of

effectuating and enforcing this Settlement. If the Settlement Agreement does not receive the

Preliminary Approval of the Court or the Final Approval Order is not entered, any and all rights

of the Parties existing prior to the execution of this Settlement Agreement, including but not

limited to Plaintiffs’ right to seek and ARDMS’ right to oppose certification of a class in the

Class Action Lawsuit and the Parties’ dispute concerning the validity and enforceability of the

individual releases, shall be preserved, and the Class Action Lawsuit shall proceed in all respects


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as if the Settlement Agreement and any related orders had not been entered. In such event, none

of the terms of the Settlement Agreement or the Parties’ prior Memorandum of Understanding

(executed September 28, 2017 following the Mediation) (the “Memorandum of Understanding”)

shall be admissible in any trial or otherwise used against any Party, except to enforce the terms

thereof that relate to the Parties’ obligations in the event of termination. The portion of the

Settlement Amount transferred to the Settlement Administrator shall be returned to ARDMS,

less notice and administrative expenses incurred by the Settlement Administrator (as to which

ARDMS shall have no right of reimbursement from any person, including the Settlement

Administrator, Plaintiffs, or Class Counsel). If the portion of the Settlement Amount transferred

to the Settlement Administrator is not sufficient to pay all of the notice and administrative

expenses incurred by the Settlement Administrator, ARDMS shall separately pay to the

Settlement Administrator any additional amounts owing at the time of termination.

XIII. MISCELLANEOUS PROVISIONS

       A.      Exhibits:       The exhibits to this Settlement Agreement are integral parts of the

Parties’ agreement and are incorporated by reference as if set forth herein.

       B.      Governing Law and Forum: The Settlement Agreement and all documents

necessary to effectuate it shall be governed by the laws of the state Ohio, without giving effect to

choice-of-law principles, and by the Federal Rules of Civil Procedure. The Court shall retain

jurisdiction over the implementation and enforcement of the terms of the Settlement Agreement

and the Parties shall submit to the jurisdiction of the Court for these purposes.

       C.      Good Faith and Arm’s Length Negotiations: The Final Approval Order will

contain a statement that throughout the course of the Class Action Lawsuit the Parties and their


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counsel at all times complied with the requirements of Rule 11 of the Federal Rules of Civil

Procedure. The Parties agree that the Settlement Amount and the other terms of the Settlement

were negotiated at arm's length and in good faith by the Parties and reflect a settlement that was

reached voluntarily after consultation with experienced legal counsel and with the assistance of

the Court.

        D.      Cooperation: Class Counsel and ARDMS’ counsel agree to cooperate fully with

one another in seeking Court entry of the orders granting Preliminary Approval and Final

Approval of the Settlement Agreement, and to promptly agree upon and execute all such other

documentation as may be reasonably required to obtain Preliminary Approval of the Settlement

Agreement and the Court's entry of the Final Approval Order.

        E.      Authorization to Sign:          The persons executing this Settlement Agreement

represent that they have been duly authorized to do so and that they have the authority to take

appropriate action required or permitted to be taken pursuant to the Settlement Agreement in

order to effectuate its terms.

        F.      Confidentiality:         The Parties shall maintain the strict confidentiality of the

terms of the Settlement and Settlement Agreement prior to its filing with the Court.

        G.      No Assignment:           Each Party represents and warrants that they have not

assigned any claims that they may have against the other.

        H.      Advice of Counsel:       This Settlement Agreement is executed by the Parties after

consultation with and upon the advice of their own attorneys, and without reliance upon any

statement or representation of the other Parties or their attorneys or agents.




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       I.      Class Counsel’s Representation: On September 25, 2017, Class Counsel provided

a list of forty-one (41) Affected Exam Takers who have signed retainer agreements with Class

Counsel. Class Counsel represents and warrants that, other than these forty-one (41) Affected

Exam Takers, Class Counsel does not currently represent (prior to class certification) any other

Affected Exam Taker, and that they will not actively solicit any of these other Affected Exam

Takers (other than is necessary to effectuate this Settlement and to obtain a Final Approval

Order) as it relates to the incorrect scoring of RVT exams.

       J.      No Party Is the Drafter: None of the Parties hereto shall be considered to be the

drafter of this Settlement Agreement or any provision hereof for the purpose of any statute, case

law, or rule of interpretation or construction that would or might cause any provision to be

construed against the drafter thereof. As such, this Settlement Agreement shall not be construed

more strictly against one Party than another.

       K.      No Admission:      ARDMS denies any and all allegations of wrongdoing and

liability, and the Parties understand and agree that neither the payment of consideration nor this

Settlement Agreement shall constitute or be construed as an admission of liability or wrongdoing

by ARDMS.       Nothing in this Settlement Agreement shall be construed in any action or

proceeding of any kind whatsoever, civil, criminal, or otherwise, before any court, administrative

agency, regulatory body, or any other body or authority, present or future, as an admission by

ARDMS that ARDMS has engaged in any conduct or practices that violate any rule or law.

       L.      No Waiver: The waiver by any Party of a breach of this Settlement Agreement by

any other Party shall not be deemed a waiver of any other breach of this Settlement Agreement.

ARDMS maintains that it provided potential Subclass 2 Members with full and complete


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disclosures, and ARDMS further maintains that by cashing the Initial Checks the potential

Subclass 2 Members have fully released their individual claims against ARDMS. ARDMS

maintains that the individual releases are valid and enforceable. ARDMS also maintains that it

provided Affected Non-Settlement Class Members with full and complete disclosures, and

ARDMS further maintains that by cashing their Initial Check and/or the check with additional

compensation that was requested beyond the sum of the Initial Check, the Affected Non-

Settlement Class Members also released their individual claims against ARDMS. ARDMS

maintains that these individual releases are valid and enforceable. ARDMS maintains that any

compensation paid to Subclass 2 Members pursuant to this Settlement Agreement is made as

goodwill and to give potential Subclass 2 Members (like Affected Non-Settlement Class

Members) compensation above and beyond reimbursement for the cost of the RVT exam(s).

The Parties agree that any payment made by ARDMS to Subclass 2 Members as part of this

Settlement does not invalidate any prior valid and enforceable individual releases that may have

been given by potential Subclass 2 Members and by Affected Non-Settlement Class Members,

and does not constitute a waiver of ARDMS’ assertion that such individual releases exist or

argument by ARDMS that such individual releases are valid and enforceable.

       M.     Neutral Statements:   Any statements to the press, public, or posted on Class

Counsel’s website about the Class Action Lawsuit, the Settlement, or ARDMS are to be neutral

and non-disparaging. Class Counsel must provide ARDMS with seven (7) days’ notice of any

public statements that they intend to make or post, and ARDMS may object to any language or

characterizations about the Class Action Lawsuit, the Settlement, or ARDMS, but it may not

unreasonably do so. Counsel agree to cooperate in good faith to reach mutually-agreed upon


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language, and to the extent there is an impasse, the Court retains jurisdiction to resolve said

disputes.

        N.      Review of Settlement Class Notice: ARDMS shall be advised by the Settlement

Administrator as to when Settlement Class Notice is expected to be mailed or emailed to Class

Members, and ARDMS shall have the opportunity to review the notices in their final form before

they are mailed or emailed. ARDMS shall work out any issues it may have with Settlement

Class Notice with Class Counsel and the Settlement Administrator in sufficient time so that the

Settlement Class Notice can be timely disseminated in accordance with the deadlines set by the

Court. Further, the Settlement Administrator shall provide ARDMS with a copy of all Settlement

Class Notices that are sent to Settlement Class Members.

        O.      Complete Agreement:          This Settlement Agreement with exhibits hereto

constitutes the entire agreement of the Parties with respect to their subject matter and supersedes

any prior agreement. Extrinsic evidence may be used only, however, where a term or condition

herein is ambiguous and an item, document, or evidence referenced herein but not included may

provide clarity as to the Parties’ intent. No representations or inducements have been made by

any Party hereto concerning the Settlement Agreement other than those contained, memorialized,

or referenced herein. The provisions of the Settlement Agreement and its exhibits may not be

modified or amended, nor may any of their provisions be waived, except by a writing signed by

all Parties hereto or their successors-in-interest.

        P.      Severability: If any part, term, or provision of this Settlement Agreement is held

by the Court to be illegal or in conflict with any law, the validity of the remaining portions or

provisions shall not be affected and the rights and obligations of the Parties shall be construed


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and enforced as if the Settlement Agreement did not contain the particular invalid part, term, or

provision.

       Q.      Execution in Counterparts. This Settlement Agreement may be executed in one

or more counterparts, each of which when so executed shall constitute an original, but all of

which together shall constitute the same instrument. Fax and PDF copies of signatures shall be

treated as originals for all purposes.

       R.      Recitals. The Recitals are hereby incorporated into and made a part of this

Settlement Agreement.

                                 [Signatures on the Following Page]




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                   List of Exhibits to ARDMS Settlement Agreement



Exhibit 1:   [Proposed] Preliminary Approval Order

Exhibit 2:   [Proposed] Final Approval Order

Exhibit 3:   Claim Form

Exhibit 4:   Subclass 1 Electronic-Mail Notice

Exhibit 5:   Subclass 1 Postcard Notice

Exhibit 6:   Subclass 2 Electronic-Mail Notice

Exhibit 7:   Subclass 2 Postcard Notice

Exhibit 8:   Detailed Notice

Exhibit 9:   Letter to Subclass 2 Members with Settlement Check
                 EXHIBIT 1 – Proposed Preliminary Approval Order

                    IN THE UNITED STATES DISTRICT COURT FOR
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

STEPHANIE MILLER                             )
                                             )
and                                          )      CASE NO. 1:17-cv-00763-DAP
                                             )
MARY ALYCE DAWSON                            )      JUDGE DAN AARON POLSTER
                                             )
individually, and on behalf of all others    )
similarly situated,                          )
                                             )
               Plaintiffs,                   )
                                             )
v.                                           )
                                             )
INTELEOS, INC., f/k/a the AMERICAN           )
REGISTRY OF DIAGNOSTIC                       )
MEDICAL SONOGRAPHY, INC.                     )
                                             )
               Defendant.                    )

                    [PROPOSED] PRELIMINARY APPROVAL ORDER

       The matter before the Court is the motion of Plaintiffs Stephanie Miller and Mary Alyce

Dawson (“Plaintiffs”) for preliminary approval of a proposed class action settlement with

Defendant Inteleos, Inc., f/k/a the American Registry for Diagnostic Medical Sonography, Inc.

(“Defendant”) on behalf of a Settlement Class. The proposed Settlement would resolve all of the

claims asserted by Plaintiffs and members of the proposed Settlement Class in this action against

Defendant (the “Action”).

       This matter has been resolved by compromise as a result of mediation held before Judge

Dan Aaron Polster on September 28, 2017 (the “Mediation”). Plaintiffs and Defendant

(collectively, the “Parties”), through their respective counsel, have executed and filed with this

Court a Settlement Agreement that resolves this action and all claims alleged therein. The Court,

having overseen the Mediation, reviewed the Settlement Agreement, including the exhibits
thereto, and considered the briefing submitted in support of the unopposed motion and the

arguments of counsel thereon, finds that the terms of the proposed Settlement are fair, reasonable

and adequate to Plaintiffs and the Settlement Class and that the interests of fairness, consistency,

and efficiency are well served by a single class settlement. The Court therefore hereby GRANTS

the preliminary approval motion and ORDERS as follows.

       1.      Except as otherwise stated, this Order incorporates the defined terms set forth in

the Settlement Agreement.

       2.      For purposes of settlement, and conditioned upon the Settlement Agreement

receiving final approval following the Fairness Hearing, the Court conditionally certifies the

following Settlement Class, which is made up of Subclass 1 and Subclass 2, pursuant to Federal

Rule of Civil Procedure 23(b)(3):

               •   “Affected Exam Takers” means the 403 exam takers who took one or more

                   Registered Vascular Technology (“RVT”) exams administered by ARDMS

                   from September 6, 2016 to March 14, 2017 and who, because of a process

                   error, received a “failing score” when they had in fact passed the exam(s).

               •   “Initial Check,” “Initial Checks,” or “Initial Check(s)” means the $250, $500,

                   or $750 checks, depending on how many times the Affected Exam Taker took

                   the RVT exam(s), that were sent by ARDMS to Affected Exam Takers to

                   cover the cost of the RVT exam(s).         “Initial Checks” also includes the

                   amounts paid to a handful of individuals to reimburse them for the cost they

                   paid to verify their score(s) and/or reimbursement for a practice exam(s)

                   (amounting to an additional $35 and/or $25, respectively).




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              •    “Subclass 1” means those Affected Exam Takers who received an Initial

                  Check(s) from ARDMS, but did not cash the Initial Check(s) and did not

                  request and did not receive additional compensation from ARDMS.

              •   “Subclass 2” means those Affected Exam Takers who cashed the Initial

                  Checks sent to them by ARDMS and who did not request or receive additional

                  compensation.

       Excluded from the Settlement Class are: ARDMS and Inteleos, Inc., and their respective

officers, directors, and employees, board members, affiliated, related companies, or entity that

has a controlling interest in ARDMS or Inteleos, Inc., and all of their respective employees,

agents, board members, affiliates, legal representatives, heirs, successors, or assigns, Class

Counsel and their immediate family members, and the judge to whom this case is assigned and

the judge’s immediate family. The Settlement Class also does not include any of the Affected

Non-Settlement Class Members, who are defined as those Affected Exam Takers who asked for

and received additional compensation above and beyond the sum of the Initial Check(s) to

compensate them for losses, including, inter alia, exam fees and related expenses, lost wages,

lost opportunities, time spent studying and study materials, and/or consequential damages and/or

emotional harm. ARDMS has asserted that the Affected Non-Settlement Class Members released

their individual claims against ARDMS. The Court makes no finding as to the merits of this

assertion. The Settlement Class also does not include the two individuals who may have been

part of Subclass 2 and who signed a retainer agreement with Class Counsel, but previously

entered into a separate agreement and Class Counsel represented at Mediation that they would be

excluded.




                                               3
       3.      With respect to the Settlement Class, the Court preliminarily finds, solely for

purposes of effectuating the Settlement and for no other purpose, that (i) the members of the

Settlement Class are so numerous that joinder of all Settlement Class members in this action

would be impracticable, as the Settlement Class comprises hundreds of members; (ii) there are

questions of law and fact common to the Settlement Class that predominate over individual

questions, including whether Defendant breached its contract with Plaintiffs and Settlement

Class members, whether Defendant owed a duty of care to Plaintiffs and Settlement Class

members, whether Defendant breached that duty of care, whether Defendant violated applicable

consumer protection laws, whether Defendant has been unjustly enriched at the expense of

Plaintiffs and Settlement Class members, and whether Plaintiffs and Settlement Class members

are entitled to, and the proper amount of, damages; (iii) the claims of the representative Plaintiffs

are typical of the claims of the Settlement Class, as the representative Plaintiffs received an

incorrect “failing score” on an RVT exam when they had in fact passed the exam, and Plaintiffs

do not have any conflicts of interest with the other members of the Settlement Class; (iv)

Plaintiffs and Plaintiffs’ Counsel can fairly and adequately represent and protect the interests of

the Settlement Class members, as shown by their extensive investigation, vigorous prosecution

of this Action, and services performed to date; and (v) a class action is superior to other available

methods for the fair and efficient adjudication of the controversy as it relates to the proposed

Settlement, considering the interests of the Settlement Class members in individually controlling

the prosecution of separate actions, the extent and nature of any litigation concerning the

controversy already commenced by Settlement Class members, the desirability or undesirability

of continuing the litigation of these claims in this forum, and the difficulties likely to be

encountered in the management of a class action as it relates to the proposed Settlement.




                                                 4
       4.        The Settlement, on the terms and conditions set forth in the Settlement

Agreement, is preliminarily approved by this Court as being fair, reasonable, adequate, and

within the range of possible final judicial approval. The Court finds that the Settlement resulted

from arm’s-length negotiations conducted in good faith by the Parties in a mediation before this

Court, and reflects a settlement that was reached voluntarily after consultation with experienced

legal counsel.

       5.        The Court provisionally finds that the named Plaintiffs Stephanie Miller and Mary

Alyce Dawson are able to fairly and adequately represent the Settlement Class and appoints

Plaintiffs as the Class Representatives for the Settlement Class. Plaintiffs are two of the Affected

Exam Takers at issue in the Action, and have diligently prosecuted this matter.

       6.        The Court appoints the following as “Class Counsel”: Marc E. Dann and William

C. Behrens of the Dann Law Firm Co., LPA, and Thomas A. Zimmerman, Jr., Sharon A. Harris,

and Maebetty Kirby of the Zimmerman Law Offices, P.C., finding that these attorneys are able

to fairly and adequately represent the Settlement Class, and have competently represented the

Plaintiffs and Settlement Class in this matter.

       7.        The Court preliminarily approves the Plan of Allocation of the Subclass 1 Fund to

Subclass 1 Members, and approves the Plan of Allocation of the Subclass 2 Fund to Subclass 2

Members.

       8.        The Court orders Defendant to pay one hundred thousand dollars ($100,000.00)

of the agreed Settlement Amount to the Settlement Administrator within twenty (20) days after

entry of this Order, pursuant to the terms set forth in the Settlement Agreement.

       9.        The Court approves the Settlement Class Notice plan set forth in the Settlement

Agreement, as well as the notices attached as Exhibit 4 (Subclass 1 Electronic-Mail Notice),




                                                  5
Exhibit 5 (Subclass 1 Postcard Notice), Exhibit 6 (Subclass 2 Electronic-Mail Notice), Exhibit 7

(Subclass 2 Postcard Notice), and Exhibit 8 (Detailed Notice) thereto. The Court finds that the

Settlement Class Notice provides a sufficiently clear and concise description of the action, the

Settlement terms, and the rights and responsibilities of the Settlement Class Members, and that

the dissemination of the Settlement Class Notice through Electronic Mail, U.S. Mail, and posting

on the Settlement Website as set forth in the Settlement Agreement is the best means practicable,

and is reasonably calculated to apprise the Settlement Class Members of the litigation and their

right to participate in, object to, or exclude themselves from the Settlement. Accordingly, the

Parties and their counsel are directed to disseminate the Settlement Class Notice pursuant to the

terms of the Settlement Agreement.

       10.     The Court approves the Claim Form attached to the Settlement Agreement as

Exhibit 3, and the letter to Subclass 2 members (attached to the Settlement Agreement as Exhibit

9) that is to accompany the Settlement check to be sent to them.

       11.     The Court approves and appoints Kurtzman Carson Consultants (“KCC”) as the

Settlement Administrator, and directs them to perform the duties set forth in the Settlement

Agreement. As set forth in the Settlement Agreement, all costs and expenses incurred by the

Settlement Administrator in connection with disseminating the notice and administering the

Settlement shall be paid from the Settlement Amount.

       12.     The Court will conduct a Fairness Hearing, at which time it will consider any

objections to the Settlement Agreement and determine whether the Settlement Agreement should

be finally approved, on March 22, 2018 commencing at ____ AM/PM.

       13.     Class Counsel shall file their motion for an Award of Attorney’s Fees and

Expenses and for Service Awards to the Plaintiffs as Class Representative no later than fourteen




                                                6
(14) days prior to the deadline for submission of Requests for Exclusion and Objections. The

Court will rule upon the motion at the Fairness Hearing. As set forth in the Settlement

Agreement, all such awards shall be paid only from the Settlement Amount.

       14.      Any Settlement Class Member who intends to object to the fairness,

reasonableness, or adequacy of the Settlement, the proposed Attorney’s Fee and Expense Award,

and/or the proposed Service Awards, must deliver to Matthew D. Berkowitz, Carr Maloney P.C.

as counsel for Defendant, and to Thomas A. Zimmerman, Jr., Zimemrman Law Offices, P.C. for

Class Counsel, and file with the Court, a written statement of the objections, as well as the

specific reasons for each objection, including any legal support the Settlement Class Member

wishes to bring to the Court’s attention and any evidence or other information the Settlement

Class Member believes supports the objections. Any Settlement Class Member who objects

must set forth their full name and current address, include a statement that they are a Settlement

Class Member, state the date(s) on which they took the RVT exam(s) and received a false failing

score, state and explain the basis for their objection, state whether they intend to appear at the

Fairness Hearing with or without counsel, and personally sign the objection. If the Settlement

Class Member is represented by counsel, the objection shall be filed through the Court’s ECF

system; otherwise, the objection shall be filed and served by mail, hand, or overnight delivery

service. All objections must be filed with the Court and delivered to Counsel for Defendant and

Class Counsel not later than January 28, 2018. Objections must be delivered to the Court, Class

Counsel, and Defendant’s Counsel at the addresses listed below:

       Court:

       Clerk of the Court
       U.S. District Court for the Northern District of Ohio
       Carl B. Stokes United States Court House
       801 West Superior Avenue



                                                7
       Cleveland, Ohio 44113

       Class Counsel:

       Thomas A. Zimmerman, Jr.
       Zimmerman Law Office, P.C.
       77 W. Washington St., Suite 1220
       Chicago, IL 60602

       Defendants’ Counsel:

       Matthew D. Berkowitz
       Carr Maloney P.C.
       2020 K Street, NW, Suite 850
       Washington, DC 20006

       No person will be entitled to be heard at the Fairness Hearing, and no written objections

will be received or considered by this Court at the Fairness Hearing, unless all pertinent terms

and conditions set forth above and in the Settlement Class Notice have been fully met. If an

objection is overruled, the objecting Settlement Class Member will be bound by the terms of the

Settlement and may not exclude him/herself later. Any person who elects to opt out of the

Settlement Class shall not be bound by any orders, including, but not limited to, any final order

approving the Settlement, entered in this Action, not be entitled to relief under the Settlement

Agreement, not gain any rights by virtue of the Settlement Agreement, and not be entitled to

object to any aspect of the Settlement Agreement. No person may opt out of the Settlement

Class through a so-called “mass” or “class” opt-out.

       15.     Any Settlement Class Member who wishes to be excluded from the Settlement

must fully comply with all pertinent terms and conditions set forth in the Settlement Class

Notice. All Requests for Exclusion must be postmarked no later than January 28, 2018.

Settlement Class Members who submit a timely and valid Request for Exclusion will have no

rights under the Settlement Agreement, will not share in the distribution of the Net Settlement




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Amount, and will not be bound by the Settlement Agreement. Any Settlement Class Member

who does not submit a timely and valid Request for Exclusion shall be bound by all terms of the

Settlement Agreement and any final order approving the Settlement.

       16.     No later than 14 days after the deadline for submission of Requests for Exclusions

and Objections, the Settlement Administrator shall provide a declaration to Class Counsel and

Defendant’s counsel attesting to the measures taken to provide the Class Notice to the Settlement

Class Members and the number of requests for exclusion, if any. No later than 14 days after the

deadline for Settlement Class Members to submit a Claim Form, the Settlement Administrator

shall provide a declaration to Class Counsel and Defendant’s counsel attesting to the number of

Claim Forms received and the claimant and payment information for all claims to be paid and

disallowed.

       17.     In the event this Court does not finally approve the Settlement Agreement, any

and all rights of the Parties existing prior to the execution of the Settlement Agreement,

including but not limited to Plaintiffs’ right to seek and Defendant’s right to oppose certification

of one or more Plaintiff classes in the Action, shall be preserved, and the Action shall proceed in

all respects as if the Settlement Agreement and any related orders had not been entered. In such

event, none of the terms of the Settlement Agreement or the Parties’ prior Memorandum of

Understanding, as defined in the Settlement Agreement, shall be admissible in any trial or

otherwise used against any Party, except to enforce the terms thereof that relate to the Parties’

obligations in the event of termination. The portion of the Settlement Amount transferred to the

Settlement Administrator shall be returned to Defendant, less notice and administrative expenses

actually incurred by the Settlement Administrator (as to which Defendant shall have no right of

reimbursement from any person, including the Settlement Administrator, Plaintiffs, or Plaintiffs’




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Counsel). If the portion of the Settlement Amount transferred to the Settlement Administrator is

not sufficient to pay all of the notice and administrative expenses incurred by the Settlement

Administrator, Defendant shall separately pay to the Settlement Administrator any additional

amounts owing at the time of termination.

       18.    For the benefit of the Settlement Class Members and as provided in the

Settlement Agreement, this Court retains continuing jurisdiction over the implementation,

interpretation, and enforcement of the Settlement Agreement.

       19.    The Parties are directed to carry out their obligations under the Settlement

Agreement.

                               Summary of Applicable Dates

1.     Preliminary Approval Order (PA) entered              November 14, 2017

2.     Defendants to pay $100,000.00 of the Settlement      December 4, 2017 (PA +20)
       Amount to the Settlement Administrator

3.     Notice to be sent and Settlement Website to be       December 14, 2017 (PA +30)
       activated (ND)

4.     Motion for Award of Attorney’s Fees and              January 14, 2018 (OD -14)
       Expenses and for Service Awards to be filed

5.     Deadline to Opt Out or Object (OD)                   January 28, 2018 (ND +45)

6.     Deadline for Settlement Administrator to Submit      February 11, 2018 (OD +14)
       Compliance Declaration re: Notice and Opt-Outs

7.     Deadline to submit a Claim Form (CD)                 February 22, 2018 (ND +70)

8.     Deadline for Settlement Administrator to Submit      March 8, 2018 (CD +14)
       Compliance Declaration re: Claims

9.     Fairness Hearing (FH)                                March 22, 2018 (PA +128)




                                              10
SO ORDERED.



Dated: _______________________        _________________________________
                                      Hon. Dan Aaron Polster
                                      United States District Court Judge




                                 11
                     EXHIBIT 2 – Proposed Final Approval Order

                    IN THE UNITED STATES DISTRICT COURT FOR
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

STEPHANIE MILLER                             )
                                             )
and                                          )       CASE NO. 1:17-cv-00763-DAP
                                             )
MARY ALYCE DAWSON                            )       JUDGE DAN AARON POLSTER
                                             )
individually, and on behalf of all others    )
similarly situated,                          )
                                             )
               Plaintiffs,                   )
                                             )
v.                                           )
                                             )
INTELEOS, INC., f/k/a the AMERICAN           )
REGISTRY OF DIAGNOSTIC                       )
MEDICAL SONOGRAPHY, INC.                     )
                                             )
               Defendant.                    )


                             [PROPOSED] FINAL APPROVAL ORDER

       The Court, having considered the parties’ Joint Motion for Final Approval (the “Motion”)

of the settlement (the “Settlement”) of the above-captioned case (“the Action”) pursuant to the

Settlement Agreement dated November ____, 2017, between Named Plaintiffs and Defendant

(the “Settlement Agreement”), having considered all of the submissions and arguments with

respect to the Motion, and having held a Fairness Hearing on March 22, 2018, finds that:

       1.      Unless defined herein, all capitalized terms in this Order shall have the respective

meanings as the same terms in the Settlement Agreement.

       2.      Notice to the Settlement Class has been provided in accordance with the Court’s

Preliminary Approval Order, and the substance of, and dissemination program for, the Notice

fully complied with the requirements of Federal Rule of Civil Procedure 23(b) and due process,
constituted the best notice practicable under the circumstances, and provided due and sufficient

notice to all persons entitled to notice of the settlement of this Action.

         3.      The Settlement Agreement was arrived at as a result of arm’s-length negotiations

conducted in good faith by counsel for the parties and is supported by Named Plaintiffs and

Class Counsel.

         4.      The Settlement as set forth in the Settlement Agreement is fair, reasonable,

adequate and in the best interests of the Settlement Class in light of the complexity, expense, and

duration of litigation and the risks involved in establishing liability and damages, and in

maintaining the class action through trial and appeal.

         5.      The consideration provided under the Settlement Agreement constitutes fair value

given in exchange for the release of Plaintiffs’ and Defendant’s Released Claims. The Court

finds that the consideration to be paid to members of the Settlement Class is reasonable,

considering the facts and circumstances of the numerous types of claims and affirmative

defenses asserted in the Action, and the potential risks and likelihood of success of alternatively

pursuing trials on the merits.

         6.      The persons listed on Exhibit A hereto are found to have validly excluded

themselves from the Settlement in accordance with the provisions of the Preliminary Approval

Order.

         7.      It is in the best interests of the Parties and the Settlement Class Members, and

consistent with principles of judicial economy, that any dispute between any Settlement Class

Member and Defendant regarding a Settlement Matter (as defined below) should be presented

exclusively to and resolved by this Court.




                                                   2
            IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

       8.      The Settlement Agreement is finally approved as fair, reasonable, adequate, and

in the best interests of the Settlement Class.       The Parties are directed to consummate the

Settlement Agreement in accordance with its terms. The Parties, and Settlement Class Members

who did not timely exclude themselves from the Settlement Class, are bound by the terms and

conditions of the Settlement Agreement.

       9.      The following Settlement Class, which is made up of Subclass 1 and Subclass 2,

is hereby finally certified, solely for purposes of this Settlement, pursuant to Federal Rule of

Civil Procedure 23:

               •   “Affected Exam Takers” means the 403 exam takers who took one or more

                   Registered Vascular Technology (“RVT”) exams administered by ARDMS

                   from September 6, 2016 to March 14, 2017 and who, because of a process

                   error, received a “failing score” when they had in fact passed the exam(s).

               •   “Initial Check,” “Initial Checks,” or “Initial Check(s)” means the $250, $500,

                   or $750 checks, depending on how many times the Affected Exam Taker took

                   the RVT exam(s), that were sent by ARDMS to Affected Exam Takers to

                   cover the cost of the RVT exam(s). “Initial Checks” also includes the amounts

                   paid to a handful of individuals to reimburse them for the cost they paid to

                   verify their score(s) and/or reimbursement for a practice exam(s) (amounting

                   to an additional $35 and/or $25, respectively).

               •   “Subclass 1” means those Affected Exam Takers who received an Initial

                   Check(s) from ARDMS, but did not cash the Initial Check(s) and did not

                   request and did not receive additional compensation from ARDMS.



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              •   “Subclass 2” means those Affected Exam Takers who cashed the Initial

                  Checks sent to them by ARDMS and who did not request or receive additional

                  compensation.

       Excluded from the Settlement Class are: ARDMS and Inteleos, Inc., and their respective

officers, directors, and employees, board members, affiliated, related companies, or entity that

has a controlling interest in ARDMS or Inteleos, Inc., and all of their respective employees,

agents, board members, affiliates, legal representatives, heirs, successors, or assigns, Class

Counsel and their immediate family members, and the judge to whom this case is assigned and

the judge’s immediate family. The Settlement Class also does not include any of the Affected

Non-Settlement Class Members, who are defined as those Affected Exam Takers who asked for

and received additional compensation above and beyond the sum of the Initial Check(s) to

compensate them for losses, including, inter alia, exam fees and related expenses, lost wages,

lost opportunities, time spent studying and study materials, and/or consequential damages and/or

emotional harm. ARDMS has asserted that the Affected Non-Settlement Class Members released

their individual claims against ARDMS. The Court makes no finding as to the merits of this

assertion. The Settlement Class also does not include the two individuals who may have been

part of Subclass 2 and who signed a retainer agreement with Class Counsel, but previously

entered into a separate agreement and Class Counsel represented at Mediation that they would be

excluded.

       10.    The requirements of Rule 23 have been satisfied for settlement purposes. The

Settlement Class is so numerous that joinder of all members is impracticable; there are at least

some questions of law or fact common to the Settlement Class, which common questions




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predominate over any questions affecting only individual members; and the Plaintiffs have fairly

and adequately represented the interests of the Settlement Class.

       11.     The preliminary appointment of Named Plaintiffs Stephanie Miller and Mary

Alyce Dawson as representatives of the Settlement Class and the following as Class Counsel are

hereby confirmed:

               Marc E. Dann
               William C. Behrens
               Dann Law Firm Co., LPA
               P.O. Box 6031040
               Cleveland, OH 44103

               Thomas A. Zimmerman, Jr.
               Sharon A. Harris
               Maebetty Kirby
               ZIMMERMAN LAW OFFICES, P.C.
               77 West Washington Street, Suite 1220
               Chicago, Illinois 60602

       The Class Representatives have fairly and adequately represented the interests of the

Settlement Class. Class Counsel is experienced in complex class litigation and has fairly and

adequately represented the interests of the Settlement Class.

       12.     The Settlement Administrator is directed to distribute according to the terms of

the Settlement Agreement the consideration provided for under the Settlement to members of the

Settlement Class who have submitted valid Claim Forms.

       13.     The Releasing Parties release and forever discharge the Released Parties from the

Released Claims, as set forth below:

               (A)    Plaintiffs’ Released Claims: Upon the Effective Date and in
                      consideration of ARDMS’ payment of the Settlement Amount, Named
                      Plaintiffs and Settlement Class Members, on behalf of themselves, and
                      their agents, representatives, attorneys, family members, heirs,
                      representatives, executors, administrators, assignees, predecessors, and/or
                      successors in interest, hereby fully, finally, and forever release and forever
                      discharge American Registry for Diagnostic Medical Sonography, Inc.,

                                                 5
                      Inteleos, Inc., and ARDMS, and their agents, employees, owners,
                      shareholders, principals, officers, directors, attorneys, heirs,
                      representatives, executors, administrators, assignees, predecessors in
                      interest, parent companies, subsidiaries, affiliates, related companies, and
                      insurers, of and from all claims, causes of action, lawsuits, judgments, and
                      demands of whatsoever in kind, in law or in equity, known or unknown,
                      foreseen and unforeseen, that arise from or are related in any way to the
                      Action, any fact and/or circumstance related to any incorrect scoring of
                      any Registered Vascular Technology (“RVT”) exam(s) taken by Plaintiffs,
                      or any fact and/or circumstance which has been alleged, or which could
                      have been alleged, in the Action arising out of the incorrect scoring of the
                      RVT exam(s) (the “Plaintiffs’ Released Claims”).

               (B)    Defendant’s Released Claims. Defendant and Defendant’s counsel hereby
                      release and forever discharge all claims, rights or causes of action,
                      whether known or unknown, whether accrued or unaccrued, and whether
                      arising under federal, state, local, statutory, or common law, rule or
                      regulation, against the Named Plaintiffs, any of the Settlement Class
                      Members, or Class Counsel, including their respective spouses, children,
                      heirs, associates, co-owners, agents, administrators, executors, devisees,
                      predecessors, and representatives, that arise out of or are in any way
                      related to the prosecution of the Action.

       14.     The Released Claims include claims that are currently unknown to the respective

Releasing Parties. The release in this Order and in the Settlement Agreement fully, finally, and

forever discharges all Released Claims, whether now asserted or unasserted, known or unknown,

suspected or unsuspected, which now exist, or heretofore existed or may hereafter exist, which if

known, might have affected their decision to enter into this release. Each Releasing Party shall

be deemed to waive any and all provisions, rights, and benefits conferred by any law of the

United States, any state or territory of the United States, or any state or territory of any other

country, or principle of common law or equity, which governs or limits a person’s release of

unknown claims. The Releasing Parties understand and acknowledge that they may hereafter

discover facts in addition to or different from those that are currently known or believed to be

true with respect to the subject matter of this release, but have agreed that they have taken that

possibility into account in reaching this Settlement Agreement and that, notwithstanding the

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discovery or existence of any such additional or different facts, as to which the Releasing Parties

expressly assume the risk, they fully, finally, and forever settle and release any and all Released

Claims, known or unknown, suspected or unsuspected, which now exist, or heretofore existed, or

may hereafter exist, and without regard to the subsequent discovery or existence of such

additional or different facts.

        15.     Named Plaintiffs, members of the Settlement Class, and Defendant are

permanently enjoined and barred from commencing, prosecuting, or otherwise litigating, in

whole or in part, either directly, representatively, derivatively, or in any other capacity, whether

by a complaint, counterclaim, defense, or otherwise, in any local, state, or federal court, or in any

agency or other authority or forum wherever located, any of their respective Released Claims.

Any person or entity that knowingly violates such injunction shall pay the reasonable costs and

attorneys’ fees incurred by the other party as a result of such violation.

        16.     The Court hereby awards Settlement Class Counsel $__________ for attorney’s

fees plus $_____ in costs and expenses. The Court hereby approves payment of a service award

of $______ to each of the Class Representatives. The Court finds this award of attorney’s fees

and costs, and the service awards are fair and reasonable.

        17.     Without affecting the finality of this judgment, the Court retains exclusive

jurisdiction over the Settlement Agreement and all matters, disputes, claims or defenses arising

out of or related in any way to the Settlement Agreement, including without limitation its

applicability, administration, and consummation (collectively, the “Settlement Matters”). The

Court also retains exclusive jurisdiction as to the Settlement Matters over Named Plaintiffs,

members of the Settlement Class and Defendant, each of whom are hereby deemed to have

submitted irrevocably to the exclusive jurisdiction of this Court with regard to all Settlement



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Matters and to have waived any defenses based on personal jurisdiction, venue, or that the forum

is inconvenient. Without limiting the generality of the foregoing, any dispute arising out of or

related in any way to the Settlement Agreement, including, but not limited to, any suit, action,

arbitration, or other proceeding by a Settlement Class Member in which the provisions of the

Settlement Agreement are asserted as a defense in whole or in part to any claim or cause of

action or otherwise raised as an objection, constitutes a Settlement Matter.

       18.     The Settlement Agreement and the proceedings taken and statements made

pursuant to the Settlement Agreement or papers filed seeking approval of the Settlement

Agreement, and this Order, are not and shall not in any event be construed as, offered in

evidence as, received in evidence as, and/or deemed to be evidence of a presumption,

concession, or an admission of any kind by any of the Parties of (i) the truth of any fact alleged

or the validity of any claim or defense that has been, could have been, or in the future might be

asserted in the Action, any other litigation, court of law or equity, proceeding, arbitration,

tribunal, investigation, government action, administrative proceeding, or other forum, or (ii) any

liability, responsibility, fault, wrongdoing, or otherwise of Defendant. Defendant has denied and

continues to deny the claims asserted by Plaintiffs. Defendant further maintains that it provided

full and complete disclosures to Affected Exam Takers and that by cashing their Initial Check(s)

(i.e., Subclass 2 Members) or by cashing checks for additional compensation (i.e., Affected Non-

Settlement Class Members), such Affected Exam Takers and Affected Non-Settlement Class

Members have released their individual claims against Defendant and that such releases are valid

and enforceable. The Court makes no finding as to the merits of these assertions. Nothing

contained herein shall be construed to prevent a party from offering the Settlement Agreement

into evidence for the purposes of enforcing its terms.



                                                 8
       19.     In the event that the Settlement Agreement is terminated pursuant to its terms or

the Court’s approval of the Settlement is reversed, vacated, or modified in any material respect

by this or any other Court, the certification of the Settlement Class shall be deemed vacated, the

Action shall proceed as if the Settlement Class had never been certified (including but not

limited to the Parties’ rights to engage in discovery and Defendant’s right to oppose any

subsequent motion for class certification), and no reference to the Settlement Class, this

Settlement Agreement, or any documents, communications, or negotiations related in any way

hereto shall be made for any purpose.

       20.     The Action is hereby DISMISSED WITH PREJUDICE and without costs. This

judgment has been entered without any admission by Defendant as to the merits of any of Named

Plaintiffs’ allegations in the Action.

       21.     The Court directs the Clerk to enter final judgment.

SO ORDERED.



Dated: _______________________                       _________________________________
                                                     Hon. Dan Aaron Polster
                                                     United States District Court Judge




                                                 9
     EXHIBIT 3 – Customized Claim Form to Accompany Electronic-Mail Notice

                        CLAIM FORM FOR SUBCLASS 1 MEMBERS
The records of the American Registry for Diagnostic Medical Sonography, Inc. (“ARDMS”) show that
you, <<INSERT NAME>>, took <<INSERT NUMBER>> Registered Vascular Technology (“RVT”)
Exam(s) administered by ARDMS on <<INSERT DATE(S)>>, and you were incorrectly advised that
you failed these Exam(s) when, in fact, you had actually passed these Exam(s) (hereinafter “Mis-
Scored Exam”).

ARDMS’ records show that you paid ARDMS $<<INSERT AMOUNT>> in registration fees to take
RVT Exam(s) between September 6, 2016 to March 14, 2017, $<<INSERT AMOUNT>> to verify
your RVT Exam result(s), and $<<INSERT AMOUNT>> to take practice RVT Exam(s). Under the
terms of this Settlement, you are entitled to receive a refund of these fees, plus $<<INSERT
AMOUNT>> in non-economic damages to compensate you for your stress and aggravation related to
the Mis-Scored Exam(s).1

The above amounts total $<<INSERT AMOUNT>>. You are entitled to receive this amount (subject
to any adjustments as set forth in the Settlement Agreement) if you submit this Claim Form to the
Settlement Administrator.

                                     ADDITIONAL COMPENSATION

In addition to the amount listed above, if you suffered any of the additional damages identified below,
fill in the blanks. Make sure to fill in all blanks that apply to you. You are entitled to receive additional
damages (as set forth below, and subject to any adjustments as set forth in the Settlement Agreement)
that are applicable to you.

You may only seek damages that you incurred after you were incorrectly advised for the first time that
you failed an Exam that you had actually passed. You cannot seek damages for items that occurred
prior to the first Mis-Scored Exam, although you will be receiving a refund of all of your Exam
registration fees and fees to verify your RVT Exam result(s) under this Settlement.

If you sustained damages in an amount less than the maximum possible recovery set forth for each
category of damages in this Settlement, you do not have to submit any documents to support your
claimed damages for that category. However, if you believe you sustained damages greater than the
maximum possible recovery (as set forth for each category), then you must submit supporting

1
  With regard to non-economic damages (e.g., aggravation, distress, damage to reputation), the Settlement provides
compensation based upon how long you suffered. If you had a Mis-Scored Exam during the period September 6, 2016
through November 2016, the Settlement provides that you are entitled to $7,500 for your non-economic damages. If you
received a Mis-Scored Exam during the period December 2016 through January 2017, the Settlement provides that you are
entitled to $4,500 for your non-economic damages. If you received a Mis-Scored Exam during the period February 2017
through March 14, 2017, the Settlement provides that you are entitled to $2,000 for your non-economic damages.

                                                     Page 1 of 7
     EXHIBIT 3 – Customized Claim Form to Accompany Electronic-Mail Notice

documentation along with this Claim Form to the Settlement Administrator. Missing documentation or
insufficient support may affect the amount that you may be able to recover.

Category 1 — Study Materials: Did you purchase additional study materials (e.g., books, study
guides, courses) to take a subsequent Exam after the first Mis-Scored Exam? Yes / No (circle one)

If yes, list each separately below:

Type of Study Material                                      Cost
______________________________________                      $_______________
______________________________________                      $_______________
______________________________________                      $_______________

                                                    Total: $_______________

The maximum possible recovery per Settlement Class member for this category is $172 without
supporting documentation. However, if you believe you sustained damages greater than the maximum
possible recovery, then you must submit supporting documentation showing your purchase of study
materials along with this Claim Form to the Settlement Administrator.

Category 2 — Child Care Costs Incurred While Studying and Re-Taking an Exam:
Did you incur child care costs while studying for and/or re-taking an Exam(s) after the first Mis-
Scored Exam? Yes / No (circle one)

If yes, fill in the information below:

Number of Hours of Such Child Care: _______ hours times rate of $______ per hour = $_________

The maximum possible recovery per Settlement Class member for this category is $840 per month for
a maximum of two months (i.e., $1,680) without supporting documentation. However, if you believe
you sustained damages greater than the maximum possible recovery, then you must submit supporting
documentation showing your child care payments along with this Claim Form to the Settlement
Administrator.

Category 3 — Lost Wages / Lost Job Opportunity:
       A.      Fired from Your Sonographer Job

Were you fired from your sonographer job due to reporting to your employer your Mis-Scored Exam?
Yes / No (circle one)

If yes, were you out of work for more than one month? Yes / No (circle one)
                                              Page 2 of 7
     EXHIBIT 3 – Customized Claim Form to Accompany Electronic-Mail Notice


If you were out of work for less than one month, the Settlement provides you are entitled to $5,250
without supporting documentation. If you were out of work for more than one month, the Settlement
provides that you are entitled to $10,500 without supporting documentation. However, if you believe
you sustained damages greater than these possible recovery amounts, then you must submit
documentation to support your wage loss along with this Claim Form to the Settlement Administrator.

       B.      Lost Pay Increase in Your Then-Current Sonographer Job

Did you miss out on a pay increase in your then-current sonographer job because of reporting to your
employer your Mis-Scored Exam? Yes / No (circle one)

If yes, what was the hourly rate of pay of your then-current job before the first Mis-Scored Exam?
$________.
What was the hourly rate of pay of the pay increase that you lost out on due to receiving a Mis-Scored
Exam? $________.
Calculate the difference in the hourly rate of pay between your then-current job and the increased
hourly rate of pay had you received the pay increase: $________.
How many hours of work do you claim you would have worked at the increased hourly rate of pay had
you not received a Mis-Scored Exam? _______# of hours.
Calculate the total difference in pay that you lost out on (i.e., # of hours times difference in hourly rates
of pay): $_________.

The Settlement provides that the maximum possible recovery per Settlement Class Member for this
category is $1,806 without supporting documentation. However, if you believe you sustained damages
greater than the maximum possible recovery, then you must submit documentation to support your
wage loss along with this Claim Form to the Settlement Administrator.

       C.      Lost Job Promotion / Lost Job Opportunity

Did you miss out on a job promotion or a job opportunity that would have paid you a higher rate of pay
because of your Mis-Scored Exam? Yes / No (circle one)

If yes, what was the hourly rate of pay of your then-current job before the first Mis-Scored Exam?
$________.
What was the hourly rate of pay of the promotion/job opportunity that you lost out on due to receiving
a Mis-Scored Exam? $________.
Calculate the difference in the hourly rate of pay between your then-current job and the increased
hourly rate of pay had you received the promotion/job opportunity: $________.
How many hours of work do you claim you would have worked at the increased hourly rate of pay had
you not received a Mis-Scored Exam? _______# of hours.


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     EXHIBIT 3 – Customized Claim Form to Accompany Electronic-Mail Notice

Calculate the total difference in pay that you lost out on (i.e., # of hours times difference in hourly rates
of pay): $_________.

The Settlement provides that the maximum possible recovery per Settlement Class Member for this
category is $3,612 without supporting documentation. However, if you believe you sustained damages
greater than the maximum possible recovery, then you must submit documentation to support your
wage loss along with this Claim Form to the Settlement Administrator.

Category 4 — Time Spent Studying to Re-Take an Exam (this includes time off
from work to study):

The Settlement provides that this time will be reimbursed at the rate of $30 per hour.

   A.    Did you have to study to re-take the Exam a Second Time after the first Mis-Scored Exam?
         Yes / No (circle one)
If yes, how many hours did you spend studying in order to re-take the Exam a Second
Time?:__________. Multiply the number of hours times $30: $_______. The Settlement provides the
maximum possible recovery per Settlement Class Member for this Subcategory 4.A (i.e., time spent
studying for a Second Exam) is $1,800 without supporting documentation.

   B.    Did you have to study to re-take the Exam a Third Time after a second Mis-Scored Exam?
         Yes / No (circle one)
If yes, how many hours did you spend studying in order to re-take the Exam a Third
Time?:__________. Multiply the number of hours times $30: $_______. The Settlement provides the
maximum possible recovery per Settlement Class Member for this Subcategory 4.B (i.e., time spent
studying for a Third Exam) is $1,800 without supporting documentation.

The combined maximum possible recovery per Settlement Class Member for this Category 4 is $3,600
(i.e., $1,800 for each Subcategory). However, if you believe you sustained damages greater than the
maximum possible recovery for either or both of these categories, then you must submit supporting
documentation along with this Claim Form to the Settlement Administrator.

Category 5 — Travel:

        A.     Gasoline (if you drove)

If you had to re-take the Exam(s) after the first Mis-Scored Exam and incurred costs for gasoline to
travel to and from the Exam testing site, the Settlement provides that you will be reimbursed at the rate
of 54¢ per mile. If you incurred gasoline costs, state the total number of miles (round trip) you traveled
to and from the Exam testing site to re-take the Exam: _________miles times 54¢ = $________ total.


                                                 Page 4 of 7
     EXHIBIT 3 – Customized Claim Form to Accompany Electronic-Mail Notice

The Settlement provides the maximum possible recovery per Settlement Class member for this
category is $22. However, if you believe you sustained damages greater than the maximum possible
recovery, then you must submit supporting documentation along with this Claim Form to the
Settlement Administrator.

       B.      Third-Party Transportation

If you had to re-take the Exam(s) after the first Mis-Scored Exam and you took third-party
transportation (e.g., train, taxi, Uber, bus, etc.) to and/or from the Exam testing site, state the total cost
you paid for any such third-party transportation: $__________

The Settlement provides the maximum possible recovery per Settlement Class member for this
category is $140. However, if you believe you sustained damages greater than the maximum possible
recovery, then you must submit documentation showing your transportation payments along with this
Claim Form to the Settlement Administrator.

Category 6 — Lodging / Hotel:
The Settlement provides you may be reimbursed for one night’s lodging related to re-taking the Exam
after the first Mis-Scored Exam. If you incurred this cost, identify the amount you paid: $__________.

The Settlement provides the maximum possible recovery per Settlement Class member for this
category is $250 without supporting documentation. However, if you believe you sustained damages
greater than the maximum possible recovery, then you must submit documentation showing your
payment for lodging/hotel along with this Claim Form to the Settlement Administrator.

Category 7 — Counseling/Therapy/Medical Visits:
Did you incur any unreimbursed costs for counseling, therapy, or medical visits caused by the Mis-
Scored Exam? Yes / No (circle one) (An “unreimbursed” cost for counseling, therapy, or medial visits
is any cost for such services that was not covered by any health insurance plan, or not otherwise
reimbursed or discounted.)

If yes, identify the type of costs incurred and the amounts incurred:
                                                                                         Unreimbursed
Name of Provider                       Reason for the Visit             Date             Cost
___________________________            ____________________             __________       $____________
___________________________            ____________________             __________       $____________
___________________________            ____________________             __________       $____________

The Settlement provides the maximum possible recovery per Settlement Class member for this
category is $1,500 without supporting documentation. However, if you believe you sustained damages
                                                 Page 5 of 7
     EXHIBIT 3 – Customized Claim Form to Accompany Electronic-Mail Notice

greater than the maximum possible recovery, then you must submit documentation showing your
payment of such unreimbursed costs along with this Claim Form to the Settlement Administrator.




                                       ATTESTATION
By my signature below, I attest that the foregoing is true and correct to the best of my knowledge,
information, and belief.

Where applicable, I have included documentation supporting the damages I have identified above
when seeking more than the maximum possible recovery without documentation: Yes / No (circle
one)

I understand that the Settlement Administrator, ARDMS, and Class Counsel reserve the right to
verify all of the information I put in this Claim Form, including any accompanying
documentation, and, in order to guard against fraudulent claims, I may be requested and
required to provide documentation to substantiate the damages I have identified for a category,
even if I am seeking less than the maximum possible recovery.

Date: ___________________


Printed Name:                                             Signature:

_________________________                                 _______________________

Current Address:                                          Daytime Telephone No.:

_________________________                                 _________________________

_________________________                                 Current Email:

_________________________                                 ________________________




                                            Page 6 of 7
  EXHIBIT 3 – Customized Claim Form to Accompany Electronic-Mail Notice

       Mail Your Completed Claim Form and Any Supporting Documentation To:
                              Settlement Administrator
                                 P.O. Box XXXXX
                                    City, State Zip


You May Also Email Your Completed Claim Form and Any Supporting Documentation To:

                           [INSERT EMAIL ADDRESS]


YOUR CLAIM FORM MUST BE POSTMARKED (if by U.S. Mail) or EMAIL DATED (if by Email)

                        ON OR BEFORE FEBRUARY 22, 2018




                                     Page 7 of 7
                       EXHIBIT 4 – Subclass 1 Electronic-Mail Notice

                    SUMMARY NOTICE OF CLASS ACTION SETTLEMENT TO
                                     SUBCLASS 1
  You are entitled to a cash payment from a class action settlement fund because during the period of
September 6, 2016 to March 14, 2017, you passed one or more Registered Vascular Technology (“RVT”)
exams administered by the American Registry for Diagnostic Medical Sonography, Inc. (“ARDMS”) but
             you were erroneously advised that you failed one or more of the RVT exams.

             A federal district court authorized this notice. This is not a solicitation from a lawyer.
This notice affects you because our records indicate that you took one or more RVT exams administered by
ARDMS during the period of September 6, 2016 to March 14, 2017 and that you were advised that you failed at
least one exam, but in actuality, you had passed at least one of these exams. Pursuant to a proposed class action
settlement, and subject to approval of the Court, Inteleos, Inc. f/k/a ARDMS has agreed to pay $445,141 into a
settlement fund for those persons in Subclass 1 – those persons who were incorrectly informed that they failed
at least one RVT exam administered by ARDMS during the period of September 6, 2016 to March 14, 2017,
and who did not cash an exam reimbursement check sent by ARDMS, and who did not request or receive any
compensation from ARDMS. You must, however, submit a claim form to claim your share of the proposed
settlement fund. The Court authorized publication of this notice via email and other written notice you may receive.
This is a summary of the settlement and your legal rights.

Please visit www.___________.com or call 1-800-XXX-XXXX to learn more about the settlement and to
                            obtain the form you need to submit a claim.

What is the lawsuit about?
Plaintiffs Stephanie Miller and Mary Alyce Dawson sued Inteleos, Inc. f/k/a ARDMS alleging negligence, breach of
contract, consumer protection violations, and unjust enrichment in connection with a scoring error in which a
number of people who took the RVT exam during the period of September 6, 2016 to March 14, 2017 were advised
that they had failed at least one RVT exam when, in actuality, they had passed the exam. The lawsuit is a class
action, meaning that Plaintiffs Stephanie Miller and Mary Alyce Dawson (the “class representatives”) asked for
relief not only for themselves, but also for all similarly situated individuals. ARDMS agreed to pay a total $572,641
to compromise those claims with $445,141 allocated to pay individuals in this Subclass 1 (“Subclass 1 Fund”), and
$127,500 allocated to pay individuals in Subclass 2, less proportionate fees and expenses identified below. The
parties have entered into a Settlement Agreement which will be presented to the U.S. District Court for the Northern
District of Ohio in the lawsuit Miller, et al. v. Inteleos, Inc., Case No. 1:17-cv-00763-DAP.

What benefits does the settlement provide?
The settlement funds will be used to pay eligible class members, pay the legal fees incurred by the class
representatives (up to one-third of the settlement fund) plus expenses and costs of class notice and settlement
administration, and pay up to $5,000 to each of the two class representatives, as awarded by the Court. If the Court
approves the settlement, everyone in Subclass 1 will have an opportunity to receive a share of the Subclass 1 Fund.
These payment amounts may be adjusted up or down depending on the number of Claim Forms received and
documentation and substantiation provided, so as to fully and fairly allocate and pay out the entire net Subclass 1
Fund to Subclass 1 Members who submit Claim Forms. None of the money in the settlement fund will revert back to
ARDMS.

How can you get a payment?
Detailed information about the settlement and the claim submission process is posted on the settlement website and
can also be obtained by calling the number below. You must submit a Claim Form and provide supporting
documentation, as necessary, on or before February 22, 2018 to receive a payment. You can-fill out the Claim
Form attached to this Notice or download a Claim Form from the settlement website and submit it by mail, or fill-
out and submit a Claim Form online by clicking www.___________.com/ClaimForm.

What other options do you have?
If you would prefer not to be part of the settlement and not get a payment, you have the right to ask the Court to
exclude you. To do so, you must complete and submit a request for exclusion by January 28, 2018. If you want to
                       EXHIBIT 4 – Subclass 1 Electronic-Mail Notice

be part of the settlement but object to its terms, you or your attorney can submit a written objection and/or appear at
the final approval hearing discussed below. To do so, you must complete and submit your objection by January 28,
2018. Detailed information on these options is posted on the settlement website.

Final Approval Hearing.
The Court will hold a hearing on March ___, 2018, at which time it will consider any objections, decide the amount
of attorney’s fees, incentive awards, and expenses to award, and decide whether to approve the settlement.

        QUESTIONS? CALL 1-800-XXX-XXXX TOLL FREE, OR VISIT WWW.__________.COM.
                           EXHIBIT 5 -- Subclass 1 Postcard Notice

                LEGAL NOTICE                                                                     US Postage
                                                   Miller, et al. v. Inteleos, Inc.
                                                   Settlement Administrator                         Paid
   Because you passed one or more                  P.O. Box _______                              Permit #__
  Registered Vascular Technology                   ______, __ _____-____
(“RVT”) exams administered by the
  American Registry for Diagnostic
      Medical Sonography, Inc.
  (“ARDMS”) during the period of                    «Barcode»
   September 6, 2016 to March 14,                   Postal Service: Please do not mark barcode
   2017, but you were erroneously
 advised that you failed one or more                Claim #: XXX- «ClaimID» - «MailRec»
    of these RVT exams, you are                     «First1» «Last1»
entitled to a cash payment from a                   «co»
      class action settlement.                      «Addr1» «Addr2»
                                                    «City», «St» «Zip»
A federal district court authorized this notice.
   This is not a solicitation from a lawyer.

         1-800-___-____
 XXXwww.__________.com
A proposed settlement has been reached in a class action lawsuit against Inteleos, Inc. f/k/a ARDMS, alleging that during the period of
September 6, 2016 to March 14, 2017 certain people who took the RVT exam that was administered by ARDMS were advised that they had
failed at least one RVT exam when, in actuality, they had passed the exam. Plaintiffs alleged negligence, breach of contract, consumer
protection violations, and unjust enrichment.
Who is included? ARDMS’ records show that you are included in the settlement as a “Class Member” in “Subclass 1.” Subclass 1 Members
include everyone who took one or more RVT exams administered by ARDMS during the period of September 6, 2016 to March 14, 2017 and
who were advised that they failed at least one exam, but in actuality, they had passed at least one of these exams; and who did not cash an
exam reimbursement check sent by ARDMS and did not request or receive any additional compensation from ARDMS.
What does the settlement provide? ARDMS has agreed to pay a total of $572,641 into a settlement fund, with $445,141 allocated to pay
individuals in this Subclass 1, and $127,500 allocated to Subclass 2. After deducting from $445,141 the proportionate costs of class notice,
settlement administration, and Court-approved attorney’s fees, costs, expenses, and representative plaintiff service awards, Subclass 1 Members
who submit a valid Claim Form will receive a share of the net amount (the “Subclass 1 Fund”). These payment amounts to Subclass 1
Members may be adjusted up or down depending on the number of Claim Forms received and documentation and substantiation provided, so
as to fully and fairly allocate and pay out the entire Subclass 1 Fund to Subclass 1 Members who submit Claim Forms. None of the money in
the settlement fund will revert back to ARDMS.
How do I get a payment? Please go to www.______________.com and file a claim online or download, print, complete, and mail a Claim Form
to the Settlement Administrator. Claim Forms are also available by calling 1-___-___-____. Claim Forms must be submitted online or mailed by
February 22, 2018. If you file a valid claim and do not exclude yourself from the settlement, you will receive your share from the Subclass 1
Fund. If you exclude yourself from the settlement, you will not receive any money from the settlement.
What are my other options? If you do not want to be legally bound by this settlement, you must exclude yourself by January 28, 2018.
Unless you exclude yourself from the settlement, you will not be able to sue ARDMS for any claim made in this lawsuit or released by the
Settlement Agreement. If you do not exclude yourself from the settlement, you may object and notify the Court that you or your lawyer
intends to appear at the Court’s fairness hearing. Objections are due by January 28, 2018. This notice is a summary. For more information,
including the Detailed Notice and Settlement Agreement, call 1-___-___-____ or go to www._________.com.
The Court’s fairness hearing. The U.S. District Court for the Northern District of Ohio, located at 801 West Superior Avenue, Cleveland,
Ohio 44113, will hold a hearing in this case (Miller, et al. v. Inteleos, No. 17-cv-763) on March ___, 2018, at ______. At the fairness
hearing the Court will decide whether to approve: (1) the settlement; and (2) Class Counsel’s request for attorney’s fees of up to one-third of
the settlement fund, reimbursement of costs and expenses, and a service award of up to $5,000 to each of the representative plaintiffs. You
may appear at the hearing, but you do not have to. You may hire your own attorney, at your own expense, to appear or speak for you at the
hearing.
                       EXHIBIT 6 – Subclass 2 Electronic-Mail Notice

                    SUMMARY NOTICE OF CLASS ACTION SETTLEMENT TO
                                     SUBCLASS 2
  You are entitled to a cash payment from a class action settlement fund because during the period of
September 6, 2016 to March 14, 2017, you passed one or more Registered Vascular Technology (“RVT”)
exams administered by the American Registry for Diagnostic Medical Sonography, Inc. (“ARDMS”) but
             you were erroneously advised that you failed one or more of the RVT exams.

             A federal district court authorized this notice. This is not a solicitation from a lawyer.
This notice affects you because our records indicate that you took one or more RVT exams administered by
ARDMS during the period of September 6, 2016 to March 14, 2017 and that you were advised that you failed at
least one exam, but in actuality, you had passed at least one of these exams. Pursuant to a proposed class action
settlement, and subject to approval of the Court, Inteleos, Inc. f/k/a ARDMS has agreed to pay $127,500 into a
settlement fund for those persons in Subclass 2 – those persons who were incorrectly informed that they failed
at least one RVT exam administered by ARDMS during the period of September 6, 2016 to March 14, 2017,
and who cashed an exam reimbursement check sent by ARDMS, but did not request or receive additional
compensation from ARDMS above and beyond that initial reimbursement check. You do not need to submit a
claim form to claim your share of the proposed settlement fund. The Court authorized publication of this notice via
email and other written notice you may receive. This is a summary of the settlement and your legal rights.

    Please visit www.___________.com or call 1-800-XXX-XXXX to learn more about the settlement.

What is the lawsuit about?
Plaintiffs Stephanie Miller and Mary Alyce Dawson sued Inteleos, Inc. f/k/a ARDMS alleging negligence, breach of
contract, consumer protection violations, and unjust enrichment in connection with a scoring error in which a
number of people who took the RVT exam during the period of September 6, 2016 to March 14, 2017 were advised
that they had failed at least one RVT exam when, in actuality, they had passed the exam. The lawsuit is a class
action, meaning that Plaintiffs Stephanie Miller and Mary Alyce Dawson (the “class representatives”) asked for
relief not only for themselves, but also for all similarly situated individuals. ARDMS agreed to pay a total $572,641
to compromise those claims with $127,500 allocated to pay individuals in this Subclass 2 (“Subclass 2 Fund”), and
$445,141 allocated to pay individuals in Subclass 1, less fees and expenses identified below. The parties have
entered into a Settlement Agreement which will be presented to the U.S. District Court for the Northern District of
Ohio in the lawsuit Miller, et al. v. Inteleos, Inc., Case No. 1:17-cv-00763-DAP.

What benefits does the settlement provide?
The settlement funds will be used to pay eligible class members, pay the legal fees incurred by the class
representatives (up to one-third of the settlement fund) plus expenses and costs of class notice and settlement
administration, and pay up to $5,000 to each of the two class representatives, as awarded by the Court. If the Court
approves the settlement, everyone in Subclass 2 who previously cashed the exam reimbursement check without
requesting or receiving additional compensation beyond the reimbursement check will automatically receive an
additional $500 payment, less proportionate fees and expenses identified above. This payment amount may be
adjusted up or down depending on the number of individuals who remain in Subclass 2, so as to fully and fairly
allocate and pay out the entire net Subclass 2 Fund to Subclass 2 Members. None of the money in the settlement
fund will revert back to ARDMS.

How can you get a payment?
Detailed information about the settlement is posted on the settlement website and can also be obtained by calling the
number below. You do not have to do anything to get a payment. A check will be mailed to you to the last
known address in ARDMS’ records. If you moved after taking the RVT exam, please call the number below
and provide your new address.

What other options do you have?
If you would prefer not to be part of the settlement and not get a payment, you have the right to ask the Court to
exclude you. To do so, you must complete and submit a request for exclusion by January 28, 2018. If you want to
be part of the settlement but object to its terms, you or your attorney can submit a written objection and/or appear at
                      EXHIBIT 6 – Subclass 2 Electronic-Mail Notice

the final approval hearing discussed below. To do so, you must complete and submit your objection by January 28,
2018. Detailed information on these options is posted on the settlement website.

Final Approval Hearing.
The Court will hold a hearing on March ___, 2018, at which time it will consider any objections, decide the amount
of attorney’s fees, incentive awards, and expenses to award, and decide whether to approve the settlement.

        QUESTIONS? CALL 1-800-XXX-XXXX TOLL FREE, OR VISIT WWW.__________.COM.
                           EXHIBIT 7 -- Subclass 2 Postcard Notice

                LEGAL NOTICE                                                                     US Postage
                                                   Miller, et al. v. Inteleos, Inc.
                                                   Settlement Administrator                         Paid
   Because you passed one or more                  P.O. Box _______                              Permit #__
  Registered Vascular Technology                   ______, __ _____-____
(“RVT”) exams administered by the
  American Registry for Diagnostic
      Medical Sonography, Inc.
  (“ARDMS”) during the period of                    «Barcode»
   September 6, 2016 to March 14,                   Postal Service: Please do not mark barcode
   2017, but you were erroneously
 advised that you failed one or more                Claim #: XXX- «ClaimID» - «MailRec»
    of these RVT exams, you are                     «First1» «Last1»
entitled to a cash payment from a                   «co»
      class action settlement.                      «Addr1» «Addr2»
                                                    «City», «St» «Zip»
A federal district court authorized this notice.
   This is not a solicitation from a lawyer.

         1-800-___-____
 XXXwww.__________.com
A proposed settlement has been reached in a class action lawsuit against Inteleos, Inc. f/k/a ARDMS, alleging that during the period of
September 6, 2016 to March 14, 2017 certain people who took the RVT exam that was administered by ARDMS were advised that they had
failed at least one RVT exam when, in actuality, they had passed the exam. Plaintiffs alleged negligence, breach of contract, consumer
protection violations, and unjust enrichment.
Who is included? ARDMS’ records show that you are included in the settlement as a “Class Member” in “Subclass 2.” Subclass 2 Members
include everyone who took one or more RVT exams administered by ARDMS during the period of September 6, 2016 to March 14, 2017 and
who were advised that they failed at least one exam, but in actuality, they had passed at least one of these exams; and who cashed an exam
reimbursement check sent by ARDMS, but did not request or receive additional compensation from ARDMS above and beyond that initial
reimbursement check.
What does the Settlement provide? ARDMS has agreed to pay a total of $572,641 into a settlement fund, with $127,500 allocated to
individuals in this Subclass 2 (“Subclass 2 Fund”), and $445,141 allocated to Subclass 1. Although each Subclass 2 Member has already
received reimbursement/compensation from ARDMS by cashing the exam reimbursement check, each Subclass 2 Member will receive an
additional $500 from this Settlement, less the proportionate costs of class notice, settlement administration, and Court-approved attorney’s fees,
costs, expenses, and representative plaintiff service awards. This payment amount may be adjusted up or down depending on the number of
individuals who remain in Subclass 2, so as to fully and fairly allocate and pay out the entire net Subclass 2 Fund to Subclass 2 Members.
None of the money in the settlement fund will revert back to ARDMS.
How do I get a payment? You do not have to do anything to get a payment. A check will be mailed to you to the last known address in
ARDMS’ records. If you moved after taking the RVT exam, please call the number below and provide your new address.
What are my other options? If you do not want to be legally bound by this settlement, you must exclude yourself by January 28, 2018.
Unless you exclude yourself from the settlement, you will not be able to sue ARDMS for any claim made in this lawsuit or released by the
Settlement Agreement. If you do not exclude yourself from the settlement, you may object and notify the Court that you or your lawyer
intends to appear at the Court’s fairness hearing. Objections are due by January 28, 2018. This notice is a summary. For more information,
including the Detailed Notice and Settlement Agreement, call 1-___-___-____ or go to www._________.com.
The Court’s Fairness Hearing. The U.S. District Court for the Northern District of Ohio, located at 801 West Superior Avenue, Cleveland,
Ohio 44113, will hold a hearing in this case (Miller, et al. v. Inteleos, No. 17-cv-763) on March ___, 2018, at ______. At the fairness
hearing the Court will decide whether to approve: (1) the settlement; and (2) Class Counsel’s request for attorney’s fees of up to one-third of
the settlement fund, reimbursement of costs and expenses, and a service award of up to $5,000 to each of the representative plaintiffs. You
may appear at the hearing, but you do not have to. You may hire your own attorney, at your own expense, to appear or speak for you at the
hearing.
                                 EXHIBIT 8 – Detailed Notice

                            United States District Court, Northern District of Ohio

    NOTICE OF CLASS ACTION SETTLEMENT REGARDING MIS-SCORED RVT EXAMS ADMINISTERED
             BY ARDMS DURING THE PERIOD OF SEPTEMBER 6, 2016 TO MARCH 14, 2017

                The Court authorized this notice. This is not a solicitation from a lawyer.

IF YOU TOOK ONE OR MORE REGISTERED VASCULAR TECHNOLOGY (“RVT”)
EXAM(S) ADMINISTERED BY THE AMERICAN REGUSTRY FOR DIAGNOSTIC
MEDICAL SONOGRAPHY, INC. (“ARDMS”) DURING THE PERIOD OF
SEPTEMBER 6, 2016 to MARCH 14, 2017 AND YOU WERE ADVISED THAT YOU
FAILED AT LEAST ONE EXAM, BUT IN ACTUALITY, YOU HAD PASSED AT
LEAST ONE OF THESE EXAMS, THIS NOTICE CONTAINS IMPORTANT
INFORMATION THAT PERTAINS TO YOU. PLEASE READ IT CAREFULLY. YOU
MAY GET A PAYMENT FROM A CLASS ACTION SETTLEMENT, BUT YOU MAY
NEED TO SUBMIT A FORM TO DO SO.


                 YOUR LEGAL RIGHTS AND OPTIONS WITH THIS SETTLEMENT:
      RECEIVE YOUR SHARE     If you are a member of the Settlement Class, then you will be eligible for a
      OF THE SETTLEMENT      payment. If you are a Member of Subclass 1, you must submit a properly
                             completed Claim Form and provide supporting documentation by
                             February 22, 2018. If you are a Member of Subclass 2, you do not have
                             to do anything, and a check will be mailed to you. Unless you take
                             affirmative steps to exclude yourself from this Settlement, you will be
                             bound by the Release described in Question 12.
      EXCLUDE YOURSELF       You have the option to exclude yourself, or “Opt-Out” of this Settlement.
                             If you do so, you will get no payment. This is the only option that allows
                             you to be part of any other lawsuit against Inteleos, Inc. or ARDMS based
                             on the allegations made in this case. The deadline for excluding yourself
                             from the Settlement is January 28, 2018.
      OBJECT                 Write to the Court about why you don’t like the Settlement. The deadline
                             for submitting a written objection to the Settlement is January 28, 2018.
      GO TO THE FINAL        You are not required to attend or speak at the Final Approval Hearing. If
      APPROVAL HEARING       you submit a timely and valid written objection to the Settlement, the
                             Court will consider your objection without any further action on your part.
                             But, if you wish, you may request permission to speak at the Final
                             Approval Hearing by following the directions in Question 22. The Final
                             Approval Hearing is presently scheduled for March ___, 2018.


    Defendant Inteleos, Inc. f/k/a the American Registry for Diagnostic Medical Sonography,
     Inc. (“ARDMS”) has agreed to pay a total of $572,641 to settle all claims alleged against it in
     the class action lawsuit, Miller, et al. v. Inteleos, Inc., Case No. 1:17-cv-00763-DAP, filed in
     the United States District Court for the Northern District of Ohio (the “Class Action
     Lawsuit”), any fact and/or circumstance related to any incorrect scoring of any Registered
     Vascular Technology (“RVT”) exam(s) taken by Plaintiffs, or any fact and/or circumstance
    which has been alleged, or which could have been alleged, in the Class Action Lawsuit
    arising out of the incorrect scoring of the RVT exam(s). The proposed settlement (“the
    Settlement”) is a compromise of all claims by Plaintiffs including allegations of negligence,
    breach of contract, consumer protection violations, and unjust enrichment in connection with
    a scoring error in which a number of people who took the RVT exam during the period of
    September 6, 2016 to March 14, 2017 were advised that they had failed at least one RVT
    exam when, in actuality, because of a scoring error, they had passed the exam. Of the
    $572,641 Settlement Fund, $445,141 will be allocated to Subclass 1 and $127,500 will be
    allocated to Subclass 2. Subclass 1 Members are those individuals who took an RVT
    examination(s) administered by ARDMS from September 6, 2016 to March 14, 2017, and
    who received a “failing score,” when in fact they passed the exam(s), and who did not cash
    an exam reimbursement check sent to them by ARDMS and who did not request or receive
    any compensation from ARDMS in connection with the scoring error. Subclass 2 Members
    are those individuals who took an RVT examination(s) administered by ARDMS from
    September 6, 2016 to March 14, 2017, and who received a “failing score,” when in fact they
    passed the exam(s), and who cashed an exam reimbursement check sent to them by ARDMS,
    and who did not request or receive additional compensation from ARDMS above and beyond
    the reimbursement check.

   The Settlement avoids the costs and risks from continuing the Class Action Lawsuit, pays
    money to the individuals who are part of Subclass 1 and Subclass 2, and releases ARDMS
    from further liability as to them.

   The two sides disagree on how much money could have been recovered if individuals who
    received incorrect “failing scores” were to succeed at trial.

   Your legal rights are affected whether you act or don’t act. Please read this notice
    carefully.

   Your rights and options – and the procedures and your deadlines to exercise them – are
    explained in more detail below. Please note, however, that this Notice is only a summary of
    the proposed Settlement. For the complete terms and conditions of the proposed Settlement,
    you should read the document called the Settlement Agreement, which was filed with the
    Court and is available from the Settlement Administrator (Telephone Number) or the
    official Settlement website www.__________.com.

   The Court in charge of this case still must decide whether to approve the proposed
    Settlement. Payments will not be made until the Court approves the Settlement and any
    appeals are resolved. Please be patient.


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                                     BASIC INFORMATION

 1. Why did I get this notice?

You received this notice because ARDMS’ records show that you took one or more registered
vascular techoloy (“RVT”) exam(s) administered by ARDMS during the period of September 6,
2016 to March 14, 2017 and you were advised that you failed at least one exam, but in actuality,
you had passed at least one of these exams and you may not have been fully compensated for
losses sustained in connection with the false fail. As such, you are a Class Member and are
elgible to receive monetary compensation from the Settlement Fund.

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The Court required that this notice be sent to you because you have a right to know about a
proposed Settlement of a class action lawsuit, and about all your legal options, before the Court
decides whether to approve the Settlement. The Court has preliminarily approved the Settlement.
If the Court gives the Settlement its final approval, and after any objections and appeals are
resolved, the Settlement Administrator appointed by the Court will make the payments that the
Settlement allows. Please check the Settlement Website for updates on the status of the
Settlement. This package explains the lawsuit, the Settlement, your legal rights, what benefits are
available, who is eligible for them, and how to get them.

The Court in charge of the settlement approval process is the U.S. District Court for the Northern
District of Ohio, Hon. Dan Aaron Polster (the court in which the Class Action Lawsuit is
pending). Stephanie Miller and Mary Alyce Dawson, who sued Defendant Inteleos, Inc. f/k/a
ARDMS in the Class Action Lawsuit, are called the Plaintiffs.

 2. What is the lawsuit about?

Plaintiffs brought the Class Action Lawsuit on behalf of everyone who took an RVT exam(s)
administered by ARDMS during the period of September 6, 2016 to March 14, 2017, and who
were incorrectly informed by ARDMS that they failed the RVT exam(s), but, because of a
scoring error, actually passed the RVT exam(s). As a result, Plaintiffs maintain that they
suffered damages.

 3. Why is this a class action?

In a class action, one or more people called Class Representatives (in this case, Stephanie Miller
and Mary Alyce Dawson) sue on behalf of people who have similar claims. The Class
Representatives seek to have a single court resolve the issues for all members of the class, except
for those who wish to exclude themselves from the class.

 4. Why is there a Settlement?

The Court did not decide in favor of either Plaintiffs or ARDMS. Rather than continue with the
court proceedings, both sides agreed to participate in mediation before a highly experienced and
respected judge, the Hon. Dan Aaron Polster, and through those efforts, the Parties were able to
agree to the Settlement. Before entering into the mediation with Defendants, the lawyers for the
Plaintiffs in the Class Action Lawsuit (“Class Counsel”) conducted an extensive investigation of
the facts, and after conducting their extensive investigation, Class Counsel analyzed the
significant risks associated with the continued litigation of this Class Action Lawsuit, including
risks relating to: (a) prevailing on class certification; (b) overcoming ARDMS’ defenses; and (c)
calculating class-wide damages. Based on all these considerations and others, Class Counsel and
the Class Representatives think the Settlement is best for all Settlement Class Members.




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                                WHO IS IN THE SETTLEMENT
To see if you will get money from this Settlement, you first must determine if you are a
Settlement Class Member.

 5. How do I know if I am part of the Settlement?

The Settlement Class is comprised of all individuals who took a Registered Vascular Technology
(RVT) examination administered by ARDMS from September 6, 2016 to March 14, 2017, who
passed the examination but received an incorrect failing score. The Settlement Class is limited to
and comprised of two Subclasses – Subclass 1 and Subclass 2. Subclass 1 is comprised of the
individuals who took an RVT exam(s) administered by ARDMS from September 6, 2016 to
March 14, 2017 and who, because of a process error, received a “failing score” when they had in
fact passed the exam(s), and who received an initial check(s) from ARDMS to cover the cost of
the exam(s) and in certatin instances, to cover the cost to verify their scores or take a practice
exam(s), but did not cash the initial check(s) and did not request and did not receive additional
compensation from ARDMS. Subclass 2 is comprised of the individuals who took an RVT
exam(s) administered by ARDMS from September 6, 2016 to March 14, 2017 and who, because
of a process error, received a “failing score” when they had in fact passed the exam(s), and who
cashed the initial check(s) that were sent to them by ARDMS but did not request or receive
additional compensation above and beyond the reimbursement check.

The Settlement Class does not include those who took an RVT exam(s) administered by
ARDMS from September 6, 2016 to March 14, 2017 and who, because of a process error,
received a “failing score” when they had in fact passed the exam(s), but did not cash the initial
reimbursement check from ARDMS and who asked for and received additional compensation
above and beyond the amount in the reimbursement check, including compensation for losses
such as exam fees and related expenses, lost wages, lost opportunities, time spent studying and
study materials, and consequential damages and/or emotional harm. These individuals are not
part of the Settlement Class, and any rights they may have are not affected or released by this
Settlement.

If you received an Electronic-Mail Notice or Postcard Notice of this Settlement from the
Settlement Administor, then ARDMS’ records indicate that you took one or more Registered
Vascular Techoloy (RVT) exam(s) administered by ARDMS during the period of September 6,
2016 to March 14, 2017 and you were advised that you failed at least one exam, but in actuality,
you had passed at least one of these exams and you may not have been fully compensated for
losses sustained in connection with the false fail. Therefore, if you received Electronic-Mail
Notice or Postcard Notice of this Settlement, then ARDMS’ records indicate that you are a
Settlement Class Member.

 6. Are there exceptions to being included?

Yes. Even if you fall within the Settlement Class as described in Question 5, you are not a
Settlement Class Member if you are: (1) a current and former employee, officer and director of
ARDMS and their agents, subsidiaries, parents, successors, predecessors, or any entity in which

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they or their parents have a controlling interest; (2) Class Counsel or their immediate family
members; (3) the judge to whom this case is assigned or part of the judge’s immediate family;
(4) any person who executes and files a timely request for exclusion from the Class; (5) any
person who has had their claims in this matter finally adjudicated and/or otherwise released; (6)
any person who Class Counsel represents who previously agreed to be excluded from the Class
Settlement; and (7) the legal representative, successor or assign of any such excluded person.

 7. What if I am still not sure if I am included?

If you are still not sure whether you are included, you can ask for free help. You can call the
Settlement Administrator at [Telephone] or visit www._________.com for more information.

                    THE SETTLEMENT BENEFITS—WHAT YOU GET

 8. What does the settlement provide?

ARDMS has agreed to pay a total of $572,641 (the “Settlement Amount” or “Settlement Fund”)
into a settlement fund for the benefit of Settlement Class Members. After deducting from
$445,141 Subclass 1’s proportionate share of attorney’s fees and expenses, service awards, and
class notice and settlement administration costs referenced below, the “Subclass 1 Fund” will be
allocated and distributed to Subclass 1 Members. After deducated from $127,500 Subclass 2’s
proportionate share of attorney’s fees and expenses, service awards, and class notice and
settlement administration costs referenced below, the “Subclass 2 Fund” will be allocated and
distributed to Subclass 2 Members.

SUBCLASS 1 MEMBERS MUST SUBMIT A CLAIM FORM TO PARTICIPATE IN
THE SETTLEMENT. The Claim Form is included in this Notice package. An electronic
version of the Claim Form that you can fill out and submit online is also included on the
Settlement Website.

Subclass 1 Members may only seek damages that they incurred after they were incorrectly
advised for the first time that they failed an Exam that they had actually passed. Subclass 1
Members cannot seek damages for items that occurred prior to the first False Fail, although they
will be receiving a refund of all of their Exam Registration Fees and fees to verify their RVT
Exam result(s) under the Settlement.

If a Subclass 1 Member sustained damages in an amount less than the maximum possible
recovery set forth for each category of damages (as stated in the Claim Form), they do not have
to submit any documents to support their claimed damages for that category. However, if a
Subclass 1 Member believes he or she sustained damages greater than the maximum possible
recovery (as set forth for each category), then they must submit supporting documentation along
with the Claim Form to the Settlement Administrator. Missing documentation or insufficient
support may affect the amount that a Subclass 1 Member may be able to recover.

SUBCLASS 2 MEMBERS DO NOT HAVE TO SUBMIT A CLAIM FORM TO
PARTICIPATE IN THE SETTLEMENT. A check will be mailed to Subclass 2 Members to
their last known address in ARDMS’ records. If you moved after taking the RVT exam, please
call the Settlement Administrator at [telephone number] and provide your new address.

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The Settlement authorizes Class Counsel to seek an award of attorney’s fees of up to a maximum
amount of one-third (33 1/3%) of the Settlement Amount and to request reimbursement of the
out-of-pocket litigation expenses they have already paid in connection with the Class Action
Lawsuit.

In addition, Class Counsel will ask the Court to approve payment out of the Settlement Fund to
the Settlement Administrator for class notice and settlement administration costs. Furthermore,
subject to the Court’s approval, Plaintiffs Stephanie Miller and Mary Alyce Dawson will receive
a payment from the Settlement Fund of up to $5,000 each for their efforts in undertaking the
litigation, assisting Class Counsel with the prosecution of the Class Action Lawsuit and serving
as the Class Representatives.

If approved by the Court, these attorney’s fees, expenses, costs (including class notice and
settlement administration costs) and service awards will be paid from the Settlement Amount.
After payment of the fees, expenses, costs and service awards that are awarded by the Court, the
remainder of the Settlement Fund (the “Net Settlement Amount”) will be divided among
Subclass 1 Members who submit Claim Forms and provide supporting documentation, if
necessary, and Subclass 2 Members who do not opt-out of the Settlement. (See Answer to No.
10).

 9. How much will my payment be?

The Net Settlement Amount will be distributed pursuant to a Plan of Allocation to be approved
by the Court.

Each Settlement Class Member in Subclass 1 who submits a valid Claim Form will receive a
share of the Net Settlement from the Subclass 1 Fund. Without documentation supporting the
claimant’s damages, the amount of the individual’s settlement payment will be subject to
maximum possible recovery amounts per category of damages as shown on the Claim Form. A
Subclass 1 Member that believes he or she sustained damages greater than the maximum
possible recovery (as set forth for each category), then the Subclass 1 Member must submit
supporting documentation along with their Claim Form to the Settlement Administrator. Missing
documentation or insufficient support may affect the amount that a Subclass 1 Member may be
able to recover. Please Note that these payment amounts may be adjusted up or down depending
on the number of Claim Forms received and documentation and substantiation provided, so as to
fully and fairly allocate and pay out the entire net Subclass 1 Fund to Class Members who submit
Claim Forms. None of the money in the Subclass 1 Fund will revert back to ARDMS.

Each Settlement Class Member in Subclass 2 will receive $500, less their portion of deducted
attorney’s fees, expenses, costs (including class notice and settlement administration costs) and
service awards. Please Note that this payment may be adjusted up or down depending on the
number of individuals who remain in Subclass 2, so as to fully and fairly allocate and pay out the
entire net Subclass 2 Fund to Subclass 2 Members. None of the money in the Subclass 2 Fund
will revert back to ARDMS.




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         HOW YOU GET A PAYMENT—PARTICIPATING IN THE SETTLEMENT

 10. How can I get a payment?

To qualify for a payment, if you are in Subclass 1, you do not need to do anything other than
submit a Claim Form and any necessary documentation supporting your damages or harm
suffered, either by mail or online by February 22, 2018. If the Court approves the Settlement,
you will be sent money by check from the Settlement Administrator to the address specified in
your Claim Form.
If you are a member of Subclass 1 and do not submit a Request for Exclusion, but you fail to
submit a timely and valid Claim Form, you will not receive any money from the Settlement, but
you will still be bound by all of the terms of the Settlement Agreement, including the Final
Approval Order and the release of Plaintiffs’ Released Claims.

If you are in member of Subclass 2 , you do not need to do anything to qualify for a payment. A
check will be mailed to Subclass 2 Members to their last known address in ARDMS’ records. If
you moved after taking the RVT exam, please call the Settlement Administrator at [telephone
number] and provide your new address.

If you are a member of Subclass 2 and do not submit a Request for Exclusion, you will not
receive any money from the Settlement, but you will still be bound by all of the terms of the
Settlement Agreement, including the Final Approval Order and the release of Plaintiffs’
Released Claims.


 11. When will I get my payment?

The Court will hold a hearing on March ___, 2018 to decide whether to approve the
Settlement. If the Court approves the Settlement, there may be one or more appeals. It’s always
uncertain whether these appeals can be resolved, and resolving them may take time, often more
than a year. Once any and all appeals are resolved, the Settlement Administrator can distribute
the Net Settlement Amount.

 12. What am I giving up to get a payment or stay in the Settlement Class?

Unless you exclude yourself, you will stay in the Settlement Class, and all of the Court’s orders
will apply to you and legally bind you. That means that you cannot sue, continue to sue, or be
part of any other lawsuit against Inteleos, Inc. or ARDMS about the scoring error on the RVT
exam(s) that you took and which were administered by ARDMS from September 6, 2016 to
March 14, 2017. If you stay in the Settlement Class, you will release and forever discharge
American Registry for Diagnostic Medical Sonography, Inc., Inteleos, Inc., and ARDMS, and
their agents, employees, owners, shareholders, principals, officers, directors, attorneys, heirs,
representatives, executors, administrators, assignees, predecessors in interest, parent companies,
subsidiaries, affiliates, related companies, and insurers, of and from all claims, causes of action,
lawsuits, judgments, and demands of whatsoever in kind, in law or in equity, known or unknown,
foreseen and unforeseen, that arise from or are related in any way to the Class Action Lawsuit,

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any fact and/or circumstance related to any incorrect scoring of any Registered Vascular
Technology (“RVT”) exam(s) taken by Plaintiffs, or any fact and/or circumstance which has
been alleged, or which could have been alleged,in the Class Action Lawsuit arising out of the
incorrect scoring of any Registered Vascular Technology (“RVT”) exam(s) taken by Plaintiffs,
or any fact and/or circumstance which has been alleged, or which could have been alleged, in the
Class Action Lawsuit arising out of the incorrect scoring of the RVT exam(s).

                    EXCLUDING YOURSELF FROM THE SETTLEMENT

 13. How do I get out of the Settlement?

To exclude yourself from the Settlement, you must send the Settlement Administrator a letter by
mail saying that you want to be excluded fro m the Settlement. Your request for exclusion must
include all of the following:

       (a) Your name and address;
       (b) Your physical signature;
       (c) The name and number of the Class Action Lawsuit (that is, “Miller, et al. v. Inteleos,
           Inc., Case No. 1:17-cv-00763-DAP”); and
       (d) A statement that you wish to be excluded from the Settlement Class.

You must mail your request for exclusion postmarked no later than January 28, 2018 to:

                                  [Settlement Administrator]
                                        [Street Address]
                                           [City, ST]

If you ask to be excluded, you will not get any Settlement payment, you cannot object to the
Settlement, and you cannot ask to speak at the Final Approval Hearing. You will not be legally
bound by anything that happens in the Class Action Lawsuit. Depending upon the applicable
statute of limitations, you may be able to sue (or continue to sue) ARDMS on you own regarding
the issues raised in the Class Action Lawsuit.

 14. If I don’t exclude myself, can I sue ARDMS for the same thing later?

No. Unless you exclude yourself, you give up any right to sue any Inteleos, Inc. or ARDMS for
the claims that this Settlement resolves. If you have a pending lawsuit against ARDMS (or any
of its related parties as described in answer to Question No. 12 above), speak to your lawyer in
that case immediately. You may have to exclude yourself from the Settlement Class to continue
your own lawsuit against a Defendant or any of its related parties. Remember, the exclusion
deadline is January 28, 2018.

 15. If I exclude myself, can I get money from this Settlement?

No. If you exclude yourself, you will not receive any money from the Settlement. But, you are
free to sue, continue to sue, or be part of a different lawsuit against ARDMS.

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                           THE LAWYERS REPRESENTING YOU

 16. Do I have a lawyer in this case?

The Court has appointed Marc E. Dann and William C. Behrens of the Dann Law Firm. Co.,
LPA, and Thomas A. Zimmerman, Jr., Sharon A. Harris, and Maebetty Kirby of the Zimmerman
Law Offices, P.C. as Class Counsel for the Settlement Class (“Class Counsel”). You will not be
separately charged for their services. If you want to be represented by your own lawyer, you may
hire one at your own expense.

 17. How will the lawyers be paid?

Class Counsel will ask the Court to approve payment of attorney’s fees in an amount not to
exceed one-third (33 1/3%) of the Settlement Amount, after payment of up to a maximum
amount of $5,000 each to Plaintiffs Stephanie Miller and Mary Alyce Dawson for their services
as the Class Representatives, plus reimbursement of their litigation expenses. The attorneys’ fees
would pay Class Counsel for investigating the facts, litigating the case and negotiating the
Settlement. The Court may award less than the amounts requested. The amounts paid for
attorney’s fees, litigation expenses and the service awards will be paid out of the Settlement
Amount and will reduce the amount available for Settlement Class Members. In addition, the
costs for providing notice to the Settlement Class Members and the costs to administer the
Settlement will also reduce the fund available for Settlement Class Members.

                             OBJECTING TO THE SETTLEMENT
You can tell the Court that you don’t agree with the Settlement or some part of it.

 18. How do I tell the Court that I don’t like the Settlement?

If you are a Settlement Class Member, you can object to the Settlement if you don’t like any part
of it and tell the Court why you feel the Settlement should not be approved. The Court will
consider your views. To object, you must mail or your lawyer must file a document with the
Court stating that you object to the Settlement. Your objection must include:

      Case name (“Miller, et al. v. Inteleos, Inc.”);
      Case number (Case No. 1:17-cv-00763-DAP);
      Your name and address;
      You physical signature;
      A statement that you are a Settlement Class Member;
      The date(s) on which you took took the RVT exam(s) administered by ARDMS and
       received a “failing score,” when in actuality you passed the exam(s);
      The reasons that you object to the proposed Settlement, along with any supporting
       documents; and
      A statement indicating whether you intend to appear at the Fairness Hearing with or
       without counsel.

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In addition to you mailing or your attorney filing your objection with the Court, the objection
must also be mailed to each of the following addresses, postmarked no later than January 28,
2018:

 COURT                          CLASS COUNSEL                      ARDMS’ COUNSEL
 Clerk of the Court             Thomas A. Zimmerman, Jr.           Matthew D. Berkowitz
 U.S. District Court for the    Zimmerman Law Offices, P.C.        Carr Maloney P.C.
   Northern District of Ohio    77 W. Washington St., Suite 1220   2020 K Street, NW, Suite 805
 Carl B. Stokes United States   Chicago, IL 60602                  Washington, DC 20006
 Courthouse
 801 West Superior Avenue
 Cleveland, Ohio 44113

     19. What’s the difference between objecting and excluding?

Objecting is simply telling the Court that you do not like something about the Settlement. You
can object only if you stay in the Settlement Class. Excluding yourself is telling the Court that
you do not want to be part of the Settlement Class. If you exclude yourself, you have no basis to
object because the case no longer affects you.

                         THE COURT’S FINAL APPROVAL HEARING
The Court has preliminarily approved the Settlement. The Court will hold a Final Approval
Hearing to decide whether to give final approval to the Settlement. Although you don’t have to,
you may attend and, if you filed a timely, written objection, you can ask to speak at the hearing.

     20. When and where will the Court decide whether to approve the Settlement?

The Court will hold the Final Approval Hearing at _______ on March ___, 2018 at the U.S.
District Court for the Northern District of Ohio, Carl B. Stokes United States Courthouse, 801
West Superior Avenue, Cleveland, Ohio 44113. At this hearing, the Court will consider whether
the Settlement with ARDMS is fair, reasonable, adequate and in the best interests of the
Settlement Class. The Court will also consider whether to approve the proposed Plan of
Allocation of the Settlement proceeds to the Settlement Class. The Court will also consider (a)
the application by Class Counsel for payment of attorneys’ fees and reimbursement of expenses
out of the Settlement Fund created through their efforts, and (b) the application for the payment
of Service Awards to the Class Representatives.

If there are any timely objections to the Settlement, the Court will consider them. The Court will
listen to people who have asked to speak at the hearing. After the hearing, the Court will decide
whether to approve the Settlement and how much to pay Class Counsel and the Class
Representatives. We do not know how long these decisions will take.

The Final Approval Hearing may be continued or adjourned by the Court without further notice
to the Settlement Class. Settlement Class Members who may attend the Final Approval Hearing
can check the Settlement Website for updates.


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    21. Do I have to come to the hearing?

No. Class Counsel will answer questions the Court may have. But you are welcome to attend at
your own expense. If you send an objection, you don’t have to come to the hearing to talk about
it. As long as you mailed your written objection on time, the Court will consider it. If you hired
your own lawyer, you may have to pay your own lawyer to attend, but it’s not necessary that he
or she do so.

    22. Can I speak at the hearing?

You cannot speak at the hearing if you excluded yourself from the Settlement. If you filed a
timely, written objection, you (or your own lawyer) may appear and speak at the Final Approval
Hearing but, to do so, a notice of your intention to appear must be filed with the Court.

                                    IF YOU DO NOTHING

    23. What happens if I do nothing at all?

If you do nothing, then, if you are eligible and not excluded (as described in Questions 5 and 6
above), you’ll automatically be part of the Settlement Class. If you are in Subclass 1 and you
submit the Claim Form, and any necessary supporting documentation if you are seeking more
than the maximum possible recovery for any category as set forth in the Claim Form, or if you
are in Subclass 2, you will be sent money from this Settlement based on the Plan of Allocation if
the Settlement is approved by the Court. You will also be bound by the Final Approval Order
approving the Settlement and cannot start a lawsuit, continue with a lawsuit, or be part of any
other lawsuit against the Defendants about the issues in the Class Action Lawsuit.

                               GETTING MORE INFORMATION

    24. Are there more details about the Settlement?

This notice summarizes the proposed Settlement. More details are in the Settlement Agreement.
If you wish to review the Settlement Agreement, you may do so by visiting
www.___________.com.

    25. How do I get more information?

You can call the Settlement Administrator at [telephone number], write to the Settlement
Administrator at [address] or visit the Settlement Website at www.____________.com, where
you will find answers to common questions about the Settlement, plus other information to help
you determine whether you are member of the Settlement Class and whether you are eligible for
payment. The most important documents in this case can be viewed, free of charge, on the
Settlement website. You can also call Class Counsel at (216) 373-0539 for Marc E. Dann, or
(312) 440-0020 for Thomas A. Zimmerman, Jr., and you can email them at
notices@dannlaw.com or tom@attorneyzim.com. You may also write to them. Marc E. Dann,
                                               12
The Dann Law Firm Co., LPA, P.O. Box 6031040, Cleveland, Ohio 44103, www.dannlaw.com,
or Thomas A. Zimmerman, Jr., Zimmerman Law Offices, P.C., 77 W. Washington St., Suite
1220, Chicago, IL 60602, www.attorneyzim.com.

If you wish to review all of the pleadings and other records in the Class Action Lawsuit,
including the Settlement Agreement, they may be examined online on PACER at
www.pacer.gov/findcase.html. After arriving at the website, click the ‘Search the PACER Case
Locator’ link, then follow the directions and enter 1:17-cv-00763 as the case number and click
‘SEARCH.’ Images of every document filed in the case may be viewed at a minimal charge. You
may also contact the U.S. District Court for the Northern District of Ohio, Carl B. Stokes United
States Courthouse, 801 West Superior Avenue, Cleveland, Ohio 44113, (216) 357-7000, about
how you may access documents and pleadings for free.



                                                                     Date: November 14, 2017.




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        EXHIBIT 9 – Letter to Subclass 2 to Accompany Settlement Check



Dear _________:

        You are a member of Subclass 2 of the Settlement Class in the class action lawsuit
captioned Miller, et al. v. Inteleos, Inc., Case No. 1:17-cv-00763-DAP, filed in the United States
District Court for the Northern District of Ohio (the “Class Action Lawsuit”). As you are aware,
the Class Action Lawsuit alleged that certain individuals, including yourself, who took the
Registered Vascular Technology (“RVT”) exam administered by the American Registry for
Diagnostic Medical Sonography, Inc. (“ARDMS”) during the period of September 6, 2016 to
March 14, 2017, received a “failing score,” when it was, in actuality, a passing score.

       As you are also aware, the parties have reached a settlement in the Class Action Lawsuit
and the Court has approved the settlement. As a Subclass 2 Member, you previously received
and cashed a check from ARDMS that reimbursed you for the cost of the exam(s) and the cost
you may have paid to verify your score(s) and/or reimbursement for a practice exam(s). Prior to
cashing the check you were advised that by cashing the check, you understood and agreed that
you had been fully compensated for any losses that you sustained in connection with the
incorrect scoring of the exam(s), that you were releasing ARDMS from all claims related to the
exam(s) and the Class Action Lawsuit, and that you would be precluded from participating in the
Class Action Lawsuit.

        However, as part of the settlement ARDMS has agreed that each Subclass 2 Member will
receive an additional $500.00 (less the proportionate share of attorneys’ fees and costs, class
representative service awards, and costs of class notice and settlement administration) to provide
additional compensation above and beyond the reimbursement check. Accordingly, enclosed
please find a check in the amount of $________. If you fail to cash this check before it expires
in six months from the date of issuance, you will forfeit your right to this additional payment, but
you will still be bound by the terms of the settlement.

        Please note that neither the settlement nor this additional payment invalidates any prior
and enforceable release you may have given when you cashed the initial check from ARDMS,
and this payment does not constitute a waiver of any prior release that you or any other
individual may have given by cashing the initial check from ARDMS. Please also refer to the
Settlement Website (INSERT URL) and the documents on the Settlement Website for important
information that may affect your rights.

       Should you have any questions, please contact the Settlement Administrator at [telephone
#].

Sincerely,
